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M 1.997. CIVIL COVER SHEET .¢ hwerdraaie Haim dad Au meres eovicrede Dawactes fo FROHH ALS «

The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings

or other documents as required by jaw. This form must be filed by the plaintiff or petitioner for the use of the Clerk of

Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. {See instructions for
compietion.}

 

i. CASE STYLE
IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT,
IN AND FOR DUVAL COUNTY, FLORIDA

Case Nowig-Zetd- cA-onye? of
Judge:

Taguan Rahshe Gullett-El General Executor-Caveator., Syteria Hephzibah-El General Executrix-Caveatrix.,

TAQUAN RASHIE GULLETTO™® ESTATE,. SYTERIA LAWRENCEO™® ESTATE., AAMARUO™®

Alien Religious Consul Association,
Plaintiff
VS.

i. Timothy J. Corrigan, a private person:, 2. Sean Patrick Flynn, a private person:. 3. W. Stephen Muldrow, a
private person:, 4. Jon S. Wheeler, a private person:, 5. Ronnie Fussell, a private person:. 6. Christina A.
Snyder, a private person:. 7. Marcia Morales Howard, a private person:. 8. Angela Cote Dempsey,.a private
person, 9. Sara Hassler, a private person;, 10, Gwen Marshall, a private person:. 1i. Adrian G. Soud. a private
person;, 12. Karen K, Cole, a private person:, 13. Peter L. Dearing, a private person:, 14. Harvey Lamar Jay TH,
a private person: 15. Donald Richard Moran. Jr.. a private persom:. 16. Henrv Lee Adams. Junior. a rivate
person:, 17. James R. Klindt, a private person:. 18. Joel Barry Toomey., 19. Stephen Reinhardt. a private
person:, 20. Consuelo M. Callahan. a private person:, 21. Jaqueline H. Guyen, a private person:. 22. Peter L.
Shaw, a private person:, 23, Pamela Jo Bondi. a private person:, 24. Rick Swearingen, a private persom, 25.
Chris Conneil, 2 private person:. 26. D. Shinn, a ptivate person:. 27. Lt. Ligaspv. a private person: 28. Mike

Wood, a private person;, 29. Mike Williams, a private person:, 30. Joey B. Dobson, a private person:, 31. Irish

Anderson, a private person:, 32. Cedric Donar. a private person:, 33. Kim Lee Watson, 2 private person: 34.
Jim Haskett, a private person:, 35. Patrick Sheridan, a private person:, 36. Jorge L. Pastrana. a rivate person:
37. Larry Brown. a private person:, 38. Arnold Corsmeier, a private person:, 39. Monte C. Richardson. a private
person:. 40, Patricia D. Barksdale. a private person:, 41. Paul Shorstein, a private person:. 42. Jodie L. Wiles. a
private person:, 43. Sam Hernandez. a private person:. 44. Sheryl Loesch, a private pergon:, 45. Andrew S.
Cowan, a private person:, 46. Penelope Knox, a private person:. 47. Kim Cassuio, a private person;, 48. A. Lee
Bentley. a private person:, 49. Mac D. Heavener, a private person:. 50, Jacqueline Choolijian, a private person:,
51. Maurice C. Grant, Il. a private person:, 52. Suzanne Segal. a private person:, 53. Ramon De Leon, a private
person. 54. Julian Lucien Andre, a private person:, 55. Donald B. Mairs, a private person:. 56. Eddie A.
Jauregui, a private person:. 57. Donna Lee Elm. a private person:. 58. Cathy I. Ostiller. 2 private person:, 59.
Germaine Seider, a private person:. 60. Terri Nafisi, a private person:. 61. David P. Rhodes. a private person,
62. Moriah S. Radin, a private person:, 63. Brad Cooper, a private person:. 64. Liliana Coronado. a private
person:, 65. Thomas Kane. a private person:, 66. Bradley R. Johnson. a private person:, 67. Jesse Haskins, a
rivate person:. 68. Peter Stoumbelis, a private person:. 69. Thomas J. Moffett. Jr..a private person: 70. Richie
Bianco, 2 private person:, 71. Kenneth L. Green, a private person:, 72. Gerald Scott Bettmen. a private erson:.
73. €.J, Roberts. a private person:. 74. B.L. Thomas. a private person:. 75. J.J. Osterhaus. a private person:, 76,
John Tomasino, a private person:, 77. Melissa Nelson, a private person:. 78. Aneela Corey. a private person:.
79, Richard Mantei, a private person:. 80. Jack Campbell. a private person:. 81. Rick Scott, a private person:.
82. Derrick Spencer, a private person:. 83. Danielle Knag, a private person:. 84. Heather Pridgen. a private

   

   

 

  
   

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person:. 85. Scott Willis. a private person:. 86, Willard Cannon. a private person:. 87. L. Allen Beard “2 nrivats
person:, 88. Dawn K. Hudson, a private person:, 89. Russell Healy, a private person:, 90. Charles Cofer. a
Rtivate person, 91, John Rutherford. a private person:. 92. Matt Shirk. 2 nrivate person:. 93. Stephen B.
Whittington, a private _person:, 94. Joseph Rudolph Licandro, a private person:. 95. Catherine Mitheell
Licandro, a private person:, 96. Noel G. Lawrence. a private person:. 97. Angela M. Cox. a private person:. 38.
Michael Monroe Kirkland. a private person:, 99. Pamela J. Hazel, a private person:. 100. Joshua McLeod. 2
private person:, 101. Adam Johnson. a private person:. 102. Sergeant Eric Etcher, a private person:. 103.
Michael J. Coolican, a private person:, 104. Gary Flower. a private person:, 105, Eleni Derke, a private nerson:,
106. Sharon Tanner, a private person:, 107.. Michael Corrigan. a private person:. 108. David J. Smith. a private
person:, 109. Molly C, Dwyer, a private person:, 110. Kirv K. Gray, a private person:. 111. Lisa Reves. a
private person:, 112. Peter R. Marksteiner, a private person:. 113. Nancy B. Firestone. a private person:, 114,
Victor J, Wolski, a private person:, 115. David J. Bradley, a private person:, 116. Edmund G. Brown. Jr.. a
private person:, 117. Jean Shiamoto. a private person:. 118. Jim McDonnell. a private person: 119. Jeffrey
Cagnacci. a private person:, 120. Patricia Mazon, a private person:. 121. Brandon Karr, a private person:. 127.
Maureen Green, a private person;, 123. Barbara Gourlev. a private person:, 124. Michael W. Cox, 2 private
person:, 125, Kamala Harris, a private person:, 126. Michael J. Martineau. a private person:, 127. Joseph
Edward Ashman, a private person:, 128. Geoffrey J. Klimas. a private person:. 129. Blain G. Saito, a private
person:. cxxx. Court Registry Investment System (CRIS). a private person.. cxxxi. Public Access to Court
Electronic Records (PACER), a private person., oxxii, United States District Courtfor the Souther District of
Texas, a private person, cxxxii. United States Court of Appeals for the Eleventh Circuit, a private person..
Cxxxili United States Court of Appeals for the Ninth Circuit, a private person,. cxxxiv. Florida Supreme Court. a
private person,. cxxxv. First District Court of Appeal Florida, a private person,. cxxxvi. United States District

Court for the Central District of California,a private person, cxxxvii. United States District Court for the Middle
District of Florida, a private person:. cxxxviii, United States District Court for theDistrict of Columbia. a private

person., Cxxxix. United States Court of Federal Claims. a private person,. exxxx. United States Court of
Appeals for the Federal Circuit, a private person,, cxxxxi. Intermal Revenue Service (IRS). _& private person..
exxxxil, California Franchise Tax Board . a private person.. cxxxxiii. Duval County, Florida, a private person..
cxxxxiv. Leon County, Florida, a private person, cxxxxv. Baker County, Florida. a private person,, CKXXXVi.
Los Angeles County, California, a private person,, cxxxxvii. City of Jacksonville . Florida, a private person..
CXXxxviil. City of Tallahassee . Florida, a private person.. cxxxix. Citv of Los Angeles. California, a private
person,. cL. Siate of California, a private person.. cLi. State of Florida. a private person.. cLii. United States
Post Office. a private person. cLiii. Social Security Administration, a private person.. cLiv. California
Department of Motor Vehicles. a private person,, cLv. Los Anceles County Jail, a private person,. cLvi.
Metropolitan Detention Center Los Angeles California, a private person.. cL vii. John E. Good Detention Center
(Duval County Jail), a private person.. cLviii,Baker County Detention Center. a private person. cLix. Los
Angeles Police Department, a private person,, cLx. Los Angeles County Sheriff's Departmestt, a private person..
cLxi. California Highway Patrol, a private person,. cLxii. Florida Department of Law Enforcement. a private
person. cLxiii Jacksonville Sheriffs Office, a private person,, cLxiv. Leon County Sheriff's Office, a private
person., cLxv, Baker County Sheriff's Office, a private person.. cLxvi. U.S. Department of Transportation, a
private person,. cLxvii. District of Columbia Municipal Corporation. a private person.. clxviil.. United States
Corporation Company. a private person.. cLxix. Florida Department of Highway Safety and Motor Vehicles, a
piivate person.. cLxx. Florida Highway Patrol, a private person. cLxxi, Leon County Jail. a private person..
cLxxit, FCT Coleman Medium. a private person.. cLxxiii, BI Incorporated. a private person.. cLxxiv. US.
Marshals Service, a private person,, cLxxv. U.S, Probation and Pretrial Services. a private person,. clxxvi. U.S.
Attorney's Office, a private person. cLxxvii. U.S. Department of Justice. a private person, cLxviii. Federal
Bureau of Prisons. a private person., cLxxix. Palmetto Surety Cornoration. a private person.. cLxxx. Danzy Bail

Bonds, a private person,, cLxxxi. Off the Chain Bail Bonds. Inc. a private person.
Defendant

 

 

 

 
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IN THE CIRCUIT: COURT, FOURTH JUDICIAL CIRCUIT,
IN AND FOR. DUVAL COUNTY, FLORIDA

 

‘Tadquan Rahshe Gullett-Ei, Affidavit of Obligation
‘General Executor-Caveator,
TAQUAN RASHIZ GUELETT©"® ESTATE,

Syteria Hephzibah-El,

General Executrix-Caventrix,.

SYTERIA LAWRENCE®"® ESTATE,
AAMARUS"®9 Alien Religious Consul Association,

declarant (affiant): (libelarit) .

 

We. Registered. Mail + RB 9277 549 140 DS.
Registered Mail #RE ox $49 153 US:

i. Tittothy J. Corrigan, a private persons. a

2, Sean Patrick Flynn, a private person; File Number:
3. W. Stephen Muldrow, a private person}.

4; Jon'S. Wheeler, a private persons.

5- Ronnie Fussell, a private persons.

‘6. Christina A. Snyder, a private person;

7, Marcia Morales Howard, a private person;

.8. Angela Cote Dempsey, a private person}.
9. Sara Hassler, a private person;

10. Gwen Marshall, a private, persons
11... Adrian. G. Soud, a. private -person;. 42. Keren K, Cole, 4 private person; 13. Peter L..
‘Dearing, 2 private person; 14, Harvey. Lamar Jaw TH,:a private. persons. 15- Donald “Donald
Richard Maran, Jr., a private person; 16. Henry Lee. Adams, Jumior, :a privaté:person;.
17. James R. Klindt; a private person; 18, Joe! Barry Toomey, 19. Stephen Reinhardt, a-
private person; 26. Consuelo M. Callahan, a private person:

‘espondent(s) / tibelee(s) i propounder{s)[can’ Hs

 

 

 

 

 

Universal'and International Humanitarian. Declaration
For Common Law. Prejudgment Writ of Personal Replevin

 

   

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IN. THE CIRCUIT COURT; FOURTH FODICIAL CIRCUIT,
IN AND FOR DUVAL COUNTY; FLORIDA.

 

{(continuedicon'tp
21. Jacqueline. -H. ‘Given, 2. private: ‘person; 22, Peter _L: Shaw, a private :persons;
ala Jo Bondi; a ‘private: person; 24, Rick Swearingen, .a private persons:
5. Chris: Connell, a private: person;-26. Di; Shinn, a private person;-27.Lt.: Ligaspy, 2
Saute. person; . 28,. Mike: Wood, a private: person; 29. Mike. Wiliams, A Btivate. ‘person;:
30. Joey] B: Dobson;, a. private ‘persons 91. Irish Anderson, a private j personj: a2, Cedric
‘Dondt,. a ptivaté ‘person; gg. Kim Lee Watson, .a private ‘parsin; 34,. Jim -Haskett, 4
private persons 35. Patrick: Sheridan, a private person; 36.. Jorge ‘L. Pastrana, : @ private
persons. B7- Larry: Brown, a. private person: 38. Armold. Corsmeier,.a private person;
“39. ‘Monte C.- Richardson, a private ‘PeTson;. 40, Patricia D. Barksdale, a private persons.
41. Paul: Shorstein, @ private persons 42. Jodi L. Wiles, ‘a- Private person; 43: Sam.
Hernandez; .a private: ‘person;. 44.. Sheryl. Loesch, a. private’ persons 45. ‘Andrew. S..
. Cowan, a private persons 46. Penelope Knox, 3 a private person; 47s ‘Kim Cassulo, a private
persons ‘48. A. Lee Bentley, a private person; 49. Mac D.. Heavener, ‘a private person: .
“90. Jacqueline Chooljian, a private petson; $1. Maurice-C, Grant, 1, a private persons
By Suzaiine Seeal; a ‘private, person; .53.- ‘Ramon De Leon, a -privaté. person; 54. Fulian Julian
Lucier: -Andre, f private. pérsony 55: Donald B. Mairs,. a private person; ‘36. Eddie Ai
Jauregit, a private person; 57. Donna Lee Elms, a private persons 58. Cathy J. -Ostillér, a
‘private’ person; 69. Germaine. Seider, a private, person; 60.. ‘Terri Nafisi, : a ‘private. persons ;
‘Gi, David P: Rhodes, private. person. 62. Moriah 8. Radin, a private persons. 63. Brad
‘Cooper; a private person; 64. Liliana Coronado, a private person} 65. Thomas. Karis,. ‘a
private persons 66. Bradley RB. J olinson, a private. person; 67.. Jesse Haskins, a private
Person; 68. Peter. Stoumbelis, a private: persons 69: Tomas. Moffett, fit;.a private
person; 70. Richi¢ Blancd, :a private persons. 74, . Kenneth L. ‘Green, ‘a. private Person}

72: ‘Gereid Scott: Bettman, a _Brivate persons 73: &. Sh: Boherta, a ‘private: person;

 

 

 

 

 

 

 

 

 

Tomasino, private persdns. 97. Melisca Nelson; 4 otivate. persons 98: Angela Coréy,.a

private. persons 79. Richard Mantei, a private persons: So. Jack: Campbell, 5. 4 private:
person; - 81, Rick: Scott, a ‘private. BETSON; ° $3. Derrick. Spencer, a. private: person; . 83.
Danielle Knag,. a private person: 84. Heather: Pridgen, @ private persons - 85. Scott

Willis, ; 4. private persons: respondent(s) / lbeleets) / proponider(s) [con't];
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‘Universal and: International Humanitarian Declaration
For Common Law Préjudement Writ of Persorial Replevini

 

     

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IN THE CIRCUIT COURT, FOURTH JUDICIAL CIRCUIT,
IN AND FOR DUVAL COUNTY, FLORIDA.

 

(continued! cen’ 1D)
86. Willard Cannon, a ptivate person3: 87. L. Allen Beard, a private person;. ‘88, Dawn K.
Hudson, 2: ‘private person: 89. Russell Healy, a private person}: 90. Charles. Cofer, a

private ‘persons Oni. John Rutherford, -aprivate: persons 2. Matt Shitk,.a private person;.
: Whittin on, a private péréon; 94. Joseph Rudolph Licandrs, a private
person}: O5:. Catherine Mitchell Litandro, ‘a private: person; 96. Noel G. Lawrenée, a

private: persons: 97. Angela: M.:Cox, a private ‘person;. 98. Michael Monroe Kirkland, a
Private pérson; 99. Pamela J.: Hazel, 2 private person; ; 400. Josinia Mcleod, a private
person}: 104. Adam. Jolinson, 4 private: person; 102, Sergeant Eric Eteher, a private
persons. 103+ Michael: Je 2 Cosliean, a private PETSON;: 104.. Gary Blowel: ‘a private person;

 

 

 

ior is pilivate persotf. 108:. David J.Smith, a private persani:
i. Dey a private person; 110, Riry K...Gray,,.a private. person;

 

 

1909: Zs
i211 Lisa Reve es, a ‘private persiny, 112, Peter R. Marlisteiner, a private person; 119. Naney
B, Firestone, a private: persons: 444, Victor: Si Wolski; a ‘private. -person;,.415. Davids.

Bradley, a private person} 116.. Edmund _G. Brown Jt, 2 private: Personj 217. Jean

 

 

Shiamoto,. a private: persons, 418.. Jim MecDorinell; a. private person; 119. Jeffrey
Cagnacet, a private person;: 120, Patricia: Mazon,. a private persons: 121. Brandon Knarr,
a private. persons: 22. Manréen Green,-a private persony. 123, Barbara: Gourley, a_private
Persons - 1245 Michael. W. Cox, 2 private’ ‘persons. 125.. Kamala Harris, a private. (Persons:
126, Michael J. Martineat,:a private person. 127. Joseph Edward. Ashman, 2 private
person;.128- Geoffrey J; Klimas, 2 private person; 129. Blain G: Saito, a. private persons.

 

 

 
 

ten: CRE S), a ptiyate penser, anc all subsidiaries and

: person, and: all subsidiaries and agents thereof; cxvii. ‘United States District Court forthe
Sovithern District of Texzs, a. private person,. ard:-all ‘subsidiaries. and agents: ‘theres
CXEXil. United Stites Court of Appeals for the Eleventh: Cireuit, a private persons: andall
sibsidiaries and agents théreofy Fespondent(s) i libélee(s) f “propounder(s)’ [con't];
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Universal. and. International Humanitarian. Declaration

 

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IN THE CIRCUIT COURT, FOURTH JUDICIAL, CIRCUIT,
IN AND FOR DUVAL COUNTY, FLORIDA. —

 

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OAM United. States Court af ‘Appeals for. the Ninth Circuit, a private person; and’al]
sibsidiaries and’ agents. theréofs- exxxiv. Florida. ‘Supreme Court, 4. private person, and all
subsidiaries and agents: thereof; X&XY, First District Court of. Appeal Florida, -@. private
person; and’ all sibsidiariés and’ agents thereof; CXEXVL United States Distriat Court for the:
Central ‘District of Califormia, a. -Brivate person,, and all subsidiaries and: agents. thereof;
exxkvil. United States: District Court for the Middle District of Florida; 4 private.

person; and! all. subsidiaries, and: agers’ théreofy. cuNxvill, United: $tates District Court. for:
the Distri a, a private: (PSIsaNs. and all: subsidiaries and agents ‘thereof

     

 

    

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‘cond. United States Court of Federal Claims, a private -persin, and all Suhsidisries and
agents thereof cxxx. ‘United States Court of Appeals for the Federal Cireui a pivate
‘person; and all: subsidiaries: and agents, thereof CXXKXL. Titernal Revénue ‘Service.
# private person; and all. subsidiariés-and agents thereois. CCK: ‘California Franchise Pax
Board, a private ‘person, and all ‘subsidiaries and agents: these: gucci, Duval. County.
Florida ‘@ private person;, and’ all. subsidiaries: and. agents: thereals: exxaxiv. Leon ‘County, .
Elovida: a private person, ‘and: all subsidiaries: and ‘agents. thereof; ctixkv: Baker Coiinty,
Florida,. a private: person, -and'.all :subsidiarias. and. agétits theres cxexxvi.. Los: Angeles:
‘County. California, a private person; and ail subsidiaries: and agents thereofy, CXXKXVIi. City-of
Jacksonville. Florida a private: ‘person, and all-subsidiaries and’ agents: thereof. cxxxxviii.
City of ‘Tallahasseé, Florida, a- iprivate: person, -and all subsidiaries. and agents ‘thereof:
‘oxsxix. City of-Los ‘Angeles, Califoriia,. @ (private: person. aad all. subsidiaries -and agents:
thereof; x. State. of. ‘California, ‘a. private péfson,. and’ all -stibsidiaries and -agents: théteof;
eile: State. of: Florida,. ‘a: Drivate person, aiid: all. subsidiaries arnid-agents thereof; erii: United
‘States Pos Office, a private: person. and all: subsidiaries: and agents thereof: - Ctili., Social.
‘Security Administration, a private -person, . and all ‘subsidiaries. and. agents thereof;
‘eqiv. California Department of Motor Vehicles, a private person, and'all sabstdiaries and
‘agents thereof; ery. Los Angelés County Inil:-a private person, and all siibsidiaries:and. agents,
thereof civi. Métropolitan Detention Center Los. Angeles California, a-private person,
and all Subsidiities: and agents theradf oo.
Tespondent(s) / Tibelee(s} / ‘propounder(s) [eon't}:
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For. Common Law Préjudement Writ of Personal ‘Repl levin

 

    

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IN THE CIRCUIT COURT, FOURTH JUDICIAL CIRCUIT,.
IN AND: FOR DUVAL COUNTY, FLORIDA: .

 

{continned[con’ ay
ecvi, John E.:-Good Detention Center (Duval County. Jail}, 2 private: person, .and:all
subsidiaries and’ agents thereof; erviii. Baker: County. Detention Cénter, a private person, and.
all: subsidiaries. andiagents thereof; crix. Los: Angeles: Police: Department, @ private person,
cand’ all subsiditiries and -agenitis thereof; tux. Los Angeles. County. Sheriff's: Department;
‘@ private: person, aud: all subsidiariés. and ‘ agents thereoks. OLX. California Highway Patrol;
'@ private person, . and all subsidiaries, and agents thereof. exxii, Florida Department of Law:
Enforcement, a. private ‘person, and all subsidiaries and agents thereof’ CLR. Jacksonville,
‘Sheriffs Office; ; @ private person, and all. subsidiaries and agents thereof; crxiv: Leon County
Sheriff's Office, a private persons 1 and all subsidiarigs.and: agents thereafy, crxv. Baker County
Sheriff's: Office, ‘A private person, and all -subsidiaties .and| agerits théréofy: exxvi. U.S.
Depsxen of ‘Transportation, a private person, and all subsidiaries. and. agents thereof:
xvii. District:of Columbia Municipal Corporation, a private person, and all: subsidiaries
inl agents. theréofs: erxvili. United. States: Corporation Compariy, a. private persoil, and.all
-Subsidiaties dnd: agents: theréafy- Crxix., Florida: Dep rimient of Highway. Safety and: ‘Motor:
Vehicles; ia private person, - and. all subsidiaries and: agents: thereofy. “CLXX.. ‘Florida Highway
Patrol; a. private, person, and all. subsidiaries. and: agents thereof cixxi.. Eeon Com ity Jail,
‘a. private person, and’ -all. subsidiaries and agents ‘thereofs guxxii. FCI. Coleman Medium,
‘a private persou, and-all subsidiariés. and agents. thereof, exxndii.. BI Incorporated, 4 private
person, and all: subsidiaries and agents thereof ecxxiv, U.S.. Marshals Service Ca private person,
and all sbsidiariés.and: agents: thereofs. CuxK. ELS: Probation and Pretrial Services: a ‘private
‘person; | and all subsidiaties ‘and. agents thereof, evi, . Attorney's Office; a private j person;,
and all subsidiaries and: agents thereof. é13 xxvii. U.S. Department of. Justic ee, a piivate PERN,
‘and all subsidiaries and agents thereof exitaviil. federal ‘Bureau of} ; iso 3

   

 

   

 

 

 

  

and. all: subsidiaries: and: ‘agents: thereof ERK, | Danzy. Bail Bonds, a private person, and. all
subsidiaries: and agents thereof}: e_xxxi, Off the : 3 :

all subsidiaries and agénts: thereof:

 

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Universal and International Humanitarian Declaration
For Common Law Prejudement Writ of Personal Replevin

 

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IN THE CIRCUIT COURT, FOURTH JUDICIAL CIRCUIT,
IN AND. FOR DUVAL COUNTY, ELORIDA

 

Taquan Rahshe Gullett-EL, Affidavit of Obligation
Genéral Executor-Caveator;

TAQUAN RASHIE GULLETT®"S ESTATE,,.

Syteria Hephzibah-Fl,,

General Executrix-Caveatrix,

SYTERIA LAWREN CES™® ESTATE,
AAMARU®S”® Alien Religious Consul Association,

 

declarant (affiant) Gibelant).

Registered Mail + RB 917 549-140 US
Registered I Mail # RE 917 549 153 US

Universal and International Heinanitarian Declaration
For Common Law Preindement Writ: of} Personal. Replevin

 

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International Law of Peace and Law of War Constituting:

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Appendix

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For Common Law Prejud

i. TO-ALL PARTIES-AND TO THEIR CONSUL{S) OF RECORD TAKE NOTICE that On. the
Record. and for the Record; present is Taquan: Rahshe Guilett-El, also called Madlik Rahshe-
Hi, and Sytetia Hephizilich Fi, also called Highly Favored Shelinali El, Divine Immortal Spirit in Live Flesh
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Heritage.

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The Madrid Convention. on Protection in: Motoéco (July-3, 1880), Articles of imited.statés for
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‘Declaration of the Rights and’ Duties of Man-@948) inclusive without limitation all-annexés
thereto; The United Nations Declaratign of the Rights of the Child
(2959), ‘The Universal Declaration on. the Rights of Indigenous Peoples (2608); The:
International Proclamation for the Griginal Autoththonous: American Moor Alien (Friend)
Republican Uiiversal Goverment Form and-‘Testamentary Style [AAMARUS”S] (2016), The
International Resolution For Competence By Conduct and Virtue —
Affidavit of Bona Fide Moral. Integrity and Upright Character Lawful
Status (2016), United Nations General Assembly Declaration .on the
Géanting of Indepéndéice to Colonial Countries. (Countees) and
Peoples 1gid (KV) 947% Plenary Meeting (a4 December 1960}, ‘the
Hague Cinventions; the Geneva Conventigns, the Inter-American
Conuentions, the Rome Stitute, inclusive without limitation of all annéxes

thereto.

3. ‘The declaraiit. is:\General Executor / ‘Caveator-Creditor by testamentary style ‘trust
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17971; Pages 674-680), TAQUAN RASHIE. GULLETT®"® Estate Authenticated Birth
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(EL.1653075 US), Fiduciary Appointinent Contract (EL 196253975 US), Yaqnan Rashie
Gullett©"8 Estate Allodial Cost Schedule 16-d6i7-CA+2142 [RB 927 549 140 US] (Registrar
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Florida: Inst. No; 201054714241; California UCC: 16-7228787860,. California. UCC’ 10-
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derivations and/or, variations: of LAQUAN RASHIE GULLETIO”® Estate Letters Patent,

‘Sigh Manuals, Rigtits, Titles, arid Interests inclusive without limitation of all aiinexes thereto.

4. The déclarsht is ‘General Executrix / Caveatrix-Creditor by testamentary-style trust
conveyancing: of Caveat:. Declaration 6f Final: Default Judgivent 16-2017-CP-1020.
[RE 927.549 153 US] (Registrar (Probate Court) Recorder Doc # 2017104679, OR BK.
17971, Pages 808-814), SYTERIA LAWRENCE®"® Estate Authenticated Birth Certificate,
Registered Copyright, Registeréd Trademark (Copyright Deposit: No. .0031755),i Copyright /
Trade-Namié / Trademark Contract, Registered Fictitious. Name (Flotida ‘Department of ‘State
No. Gigo000007§3); Registeted Surety Bond ‘with Collateral. (3:1§-00016), Fiduciary
Appointuient Contract -(3:15-00016), Syteria LawrenceS“® ‘Estate: Allodial Cost Schedule
16-2017-CA-2144 [RE 917 549 153. US] (Registrar: (Probate Court} Recorder Doc

#2017682226; OR BK 17946;. Page 1509), Paraniciit Security Interest Holder
(Maritime Lien No. RE603617867US Putnam County. Florida Inst: No, 291054713722; Maritime
Lien No: RE603617765US Putnam Coistity Florida Intr. No. 261054720187; State of Florida UCC:
No. 2010053308; State of Florida UCC No. 201104871768;: and Kentucky Secretary of State UCC:
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vatiations of SYTEREA LAWRENCE®”® Estate Letters Patent, Sign Matiudls, Rights, Titles,

.and Tintterests inclusive without Hmitation of all armexés thereto.

‘conveyancing of Afidavit.of Alien Religions Consul Association (see Notice. of Trust:
Declaration of Taquan Rashie Gullett®"® Estate 16-2017-CP-1286 [RB 917 549. 140:
US] / Declaration of Syteria Lawrence Estateo"®. 16-2037-CP-1287 [RB'917 549 153
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978-986) / (Registrar (Probate-Court) Recorder Doc # 2017193130, OR BK 18009,

‘Pages 922-930).

6; On or about. the. Nineteenth Day of the Fourth. Mouth 2437 [G.6.¥,
2017 - April, 19], in their 7-1 précedent ruling on Nelson vu, Colarada
(No; 15-1456), the. Sipreme Court of the: United States defended and
reaffirmed. a people’s. constitutionally prorécted Natural, right and
Human right to due process of law in filing a civil claim for a rediess
of. grievances stemming from wrongful wets committed by the
prosecution, judge, and the court in an (alleged) eivil or {alleged}

criminal waatter..

7. The declarant dogs proffer.and prefer unrebuited evidence of fraud
committed in the attempted procuremeit of jutisdiction; fraud upon
the court; violation of rules; procedures, laws, and the customary
‘standard of international law; tféspass;: ultra vires acts; de son tort
acts. in esthéatment and revérsion of estates and hetéditaments;
piracy; privdteering,. genocide, kidnapping, involuntary servitude,
peonage; slavery, trafficking in persons. , and atts of terrorism,

ya Lunivériat and tonernatianal Huanaritarian Deczraiion for Cormenah Lew Peeiadirnne Wit of Pesgnetepievin «= RESUS) US:
"§ bE GR REOLT S49 ta US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 18 of 76
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protected Natural tights: and Human rights and Grave Breaches of the’
Fuidamental Gudrantées of the Hague.Conventions, the Geriéeva Coftiéntions, the: Inter
American «Conventions, thé Rome Statute; and all anneiés. thereto: {see Caveat:
Declaration: of Fital’ Default Judgment 16-2617-CP-i025 [RB 9i7 549 140 US]
Registrar (Probate Coiirt} / Recorder Doc # 2017104658, OR BK 17971, Pages 674°
680 arid all antiexes theteto) (see Letter Rogatory: Indenmity Bond and Hold Harmless
Writ of Assistimce [RB 927 549 140 US) Registrar (Probate Court). Recorder. Boc #
2017133137, OR BK 18009, Pages 987-997, 4° Jadicial Circuit Duval County 16-2017-CA-
2142, 1 DCA Appeal 1117-1699, 1° DCA Appeal 1D17-1851,,dnd all annexes thereto}; {see
Caveat: Declaration of Final Default Judgment 16-2017-CP-102 [RB 927 549.152 US)
(Régistras (Prohate Court) Recorder Doc # 2017104679, OR BK-17971, Pages 808-
‘Si4 andall annexes thereto) (see Letter Rogatory: Indémnity Bond ‘and Hold Harmless.
Writ of Assistance [RB 917 549 153 US] (Registrar (Probate Court) Recorder. Dat: #
2017133190; OR-BK 18009, Pages 931-941); 4° Judicial Circuit Duval. County.16-2017-
CA-2144; 1 DCA Appeal 117-1538; 1* BCA Appeal 4D27-1852, and all atinexes thereto)(seé
Declaration To-Produée Original Documents. and Intérrogatories (alleged transfer

bond forfeiture of contract 2013CF34444).[RB-917:549 153 US];-sée Noticé of Default and

Estoppel (alleged transfer bond fotieiture ot déntract 2015C¥3444A) [RB or7 549 153 US).

 

ring ‘Gétvdisal abit internduésal Hurmanitetan Decirsson For Common taw Prejadipedee Wnt ot Rononstepievin §— RE O17-849 14i) OS:
% 19 of 68 nina 549-153 Us
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 19 of 76

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8: As such, dedarantdoes heréby résérve all Natural figbts;. all. Human
rights, .and in accord with. thé International (Transnational). Law of Peace and the
International. (Tiansiiational} Law.of War, the Hague.Conventions, the Genéva Conventions,
the Jniar-American Conventions, the Romie Statute and. all annexes therets,. as- well .as
Florida Statutes 2.01(Common.Law-and certain statutes declared ‘in foree);. Florida.
Statutes: 78:068; Mitchell v, W.T. Grant Co., 416 U.S. 600: (1974),
Gazil, Ing. v. Super Faod Services, Inc. 356 Se: 2d -312 (Fla. 1978),
MeMurrian v. Fasot,.$73 So. 24.915 (Pla, ist DCA 1991); Landmark
First National Bank of Fort Lauderdale v. Beach Bait and Tackie
Shop, Tné., 449 So. 2d. 1287 (Fla: 4t® BCA 1984), Waite Alrerafts
Gorp. v. Ford Motor Credit Company, 430 So.:24, 1003: (Fla:. 4th DCA
1984), and Transtar Corpdration w.. Intex Recreation Corp, 570 So.

2d. 366 (Fla. 4% DCA 1990) ,Hetéin is an Affidavit of Obligation: Universaland

   

International Hi nian Declaration for Common Law. Prejudgment Writ-of

 

Delict Fenal Action, Heréin-listed are charges, specifications, elements, invoice, and true bill

 

fot the Nanital Rights and Human Rights Infringements of Intetnationdl Laiy of Peace aiid Law
of War Constititing, Gravé Breaches. of the iidamental Guarantees of the Hague
‘Corventiotis, the Geneva Conventions, the Inter-American Conventions, thé Rome Statute, and
all anitexes thereto:
* Law of Peace, Volume 2,” Headquarters, Department ¢ of the Army, September 1979 page 1-1}
{hercinafter cited as Shans of Peace”)

« Lauiof War Manual ~ ~ Department of Defense Directive 2gi0- aE, DoD Law of War Program. 35 aA ada &:
{hereinafter cited as “Eaiv of War]

md Uriversatand itcrnationt durnsiitartin Hedaration For Commman Lani Prejudement Witte PersonelRepievin «UB OST S49 840 US”
Li of 68 REO? S40 153 1S
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 20 of 76

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9. Detlarant ‘does oblige. the: Court to issue.a Universal and International
Hurnanitarian Coninion Law Prejudgment Wiit of Personal Replevin for declarant’s
immédiate possession of the herein described personal property which is unilawhully ‘taken and
‘unlawhully detained by respondent(s) / Ithélee(s)./ propounder(s).

‘Black's Laur Dictionary pad Edition defines. “Universal”: ‘as. — Having:rélation to -the
whole: or an entirety: ‘Hertaining to-all without éxteption; a-term more. extensive then
“general,” ' which latter may admit of. exceptions. See Blais v. Hoel, 68 Towa, 619, 28

N. W199; Kaen v. Stofe, 35 Neb, 676, 53 N. W; BSB: wi R. As 823.

« ‘Black's: Lau: ‘Dictionary 204 Edition. défings “Titemational Law” as ~The law which.
regulates the fntercourse of nations; the law’ of nations. 1 Kent; ‘Comm: i,.4: ‘The-
custoinary law which determines thé rights and regulates the intercourse: of indept endent
states in peace andar: The system. of rulés-and. principlés; ‘founded tn- treaty, custom,
precedent, and. the consénsys‘of.opinion as to Justice and: amoral obligation, which
‘eivilized ‘nations reédgnize as binding. upd them in their mutual dealings and relations:
Heirn v. Bridlaiilt, 97 Miss.230: U.Suu. White (€..C.) 27 Fed..201..

® Black's Low. Dictionary Bt Edition defines. “Humanitarian Law” as-— Law dealing :
Wi With. such’ matters. as the permissible use of weapons: ‘and other iéans of warfare, the
tieatment of j prisoners of war aid civilian populations in armed conflicts, and generally
the direct irapact of war-on Ttitan. life. and liberty. Most existing rules: composing |
bimanitarian law a are codified inthe Geneva. Conventions [the Hague Conventions, the.
Inter-American Conventions, the: ‘Rome ‘Statité, and ali. annexes thereto] and their
‘protocols:

ve Block's Law Dictionary 34 Edition défines “Common Law” — ~ As distinguished frora
law created’ by: thé enactnient of legialatures, the coimuion law comprises. the body. of
those principtes: ‘and. Tiles of. action, relating to the government and security-of persons
rand property; which deriva theif authority solély from. usages atid customs of immemorial:
antiquity, or from the judgments: and decrées. of. the’ courts. recognizing, affirming; ahd
enforcing such usages and custéms; and;in’ ‘this sense, particularly t the ancient inwrittex
‘Law of: Erigland. Western Union Tel. Cai: Cail Pub. Ca., 281 0.8.92, 24 Sup. Cte 561, 45
L. Ed 765; State v. - Buchanan, 5 Har-& d. GQid) 365, 94 Am, Det. 934; Dux u.. Haggin, 6g
Cal, 255, 10 Pac. 674) Barrys wv. Port Jervis, 64. App, Div..268, 72, N.Y. Supp: 104,

_4s distinguished from equity law, ‘itisa a body oftules and piinelples; written or

controversies ‘igorously and: in “thelr entitety, . and eéoraot. be: modified 6 silt the
petiliarities ‘of. a -spécific. ‘iise,.or colored by any. judicial. disctetion; and which rests:

ox ‘Ueienvat aid inténfottona} Hurnindtartsh Dedavalion Fur Cocmman law Prqudemer Witef Pecsanaliiepievin «= REST S19 140 5
a 12 of 68 ABO 57855 0S
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 21 of 76

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confessedly, upon: distoi, or stitute, as distinguished from any dain to. ethicdl
superiority. Klever.u. Seawall, 65 Fed: 395; 12 C.CA: 661.

__ 4s concerns its force. and authority in the United States, the phrase designates that

timé of the Revolution. ‘This is secognied a5 an organic part of the jurisprudence of m most

-of the United States. Browning v. Browning; 3 NLM. ‘371, 9 Pac. 877; Guardians of Poor

u. Greene, 5 Bin. (Pa: } 5573 U8. vu. New Bedford Bridge, 27-Fed. Cas. 207.

‘Tn a.ivider sense than aiy of thé foregoing, the “tommon law" may designate all
that part-of the positive: law, juristic theary, and ancient custom. of any state or nation
awhich is-of general and qiniversal: application, thes marking off special or local. rules or
customs:. AS.a- compound adjective “common-law” is understood as contrasted with or
opposed to “statutory,” and sometimes also-to “eanitable” or te *eriminal. "

Black’s: Law Dietionary-24 Edition defines “Peérsorial Replevin™ as:—.A species: ‘at
action to replevy: arwomanh ji than cut of ptison or out of the mistedy of any private, person,
and: aga mdans to é éxamining into the legality ofan. imprisonment.

Black's ‘Laie Dictionary and Edition defines s “Replevin Bond” as mh bond executed to-

‘Person: from whose’ custody the property was taken, for such dainages as He: may. ‘sustain:

Iriel i v: Van Deréen, 8 Colo: 90, 5: Pac: 803; Walker uv. Kennison, 34 NH. 259.

Black's Laiti Diétlontiry 2~4 Edition ‘defines “Replevish” as + In old English law. To'let
-one {6.mainprisé upon surety. Cowell

Black's Lavi-Dietionary 2" Edition defies: “Mainprise” as —The name ofa writ

.. commanding the sheriff to take the security of mainpernars and set the’ party‘ at liberty:

Jurisdiction and Venue

10, ‘the declarant stiés the respondent{s) / Hbeles(s) / propounder(s) and states this is an action.

for damages in excess Of $15,000, éxtlusive of interests, costs, aiid court fées.

44. Verne is properly vested in this Court as this is an action for breach of contracts entefed into

in.anid/or around and/or-ahdut Duval County, Florida; and for personal Replevin of collateral

located:in and/ét atoutd and/or about Divel County, Floiida,

ror

Linkeeresl age internation Humanitarian Dedaratio Foi Cimméd Law Prejaderent Warat PeonatReniews «= HEHE? 59 140 US
43 of 68. RE OSS 1 US
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12. The declarant, Taquait Ralisle Gullett-El,also cll aac Rahsie se Sida pi
alsa called Highly Favored Shekinah Hl, Divine Innmortal Spititin Live Flesh and Blood Natural Mari
and Wotan 6f majority on the Land, In Propria Persoiia by Sui Juris capacity, Jus Sanguinis,
Heir Appatent:-by Freehold of Inheritance, Original Autochthonous Américan Moor Alieri
(friend) Republican Universal Government. Form and Testamentary Style [AAMARD®"2],
AAMARUS"6 Align Religions Consul Association, a peaple of Our-state and of sound
firm mind; whont live in their bodies and do from tine to.time inhabit and dwell in and/or
around and/or about:
Molly's Garden Counties, Titincnuan Al Andalusia; Northwest Améexerny, (Moro eco).
[Jacksonville: Florida state]
{Latitude: 30360727, Longitude: -81.646558]
[National Grid: 17R MP, Northings: 58, Eastings: 37]
[422 Fast 374 Street]

TRE# 49315-0000, AH~356-01-28-26E: O57 ‘Long Branch, dp
[PT Lot 4 Ree’d O/R 15397-7981

{RE # 493112060 Q, 5§-25-26E Lovig-Branch; 1.
[PT Lot 4 Rec'd O/R BE 4995-3921.

[619 East 27 Street].

[RE #199058-0000; 06-28-27 North Springfield Terrace; ]
[Lats 15, 23, W goft Lot 23, Bik 4]

‘(RE # 133059-00d0, 3-88- 46-88-27 North Springfield Terrace, Lot i6; Bik 4]
Mailing Location:
¢/, 6722 Arlington Expressway, Suite 67213; Jacksonville Florida state

“‘Timuctian Al Andalisia Northwest Amexem (Moroces)

: Universal ant taternational Huncnitarlas Hedkiration ForConmsn isi Feefuudgmint Writ of Bécral Repicvis RT 349 148 LS .
14 of 68 “RE 91739 13 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 23 of 76

Case 3:17-cv-00881-T3C-JBT Document 2 Filed 08/01/17 Page 21 of 74 PagelD 722
13,. Upon information ard belief, ‘the herein-listed respondent(s) / Wibelee(s): / propoundertsy
slong with all subsidiaries dnd agents thereof are-private person(s) and/or: residents and/or

havé their pririciple place of business in and/or atound and/ot about the following:

i: Tnothy J. Corrigan , 300 North Bogan Strevt, Chambers 11-200, Courtroom 20D, Jacksonville, Farida gezq3

‘2, Sean Patrick Flynn ; 400 North Tampa Street, Suite g200, Tampa, Florida 33602 ,

3. W. Stephen Muldrow, 400 North Tampa Street, Suite 3200, Tanipa, Farida 33602:

q.don &. Wheeler, 2o00 Drayton Drive, Tallahassee, Floridageggg-0950.

5. Rennie Fussell, 462 West Adams Street, Juthsonville, Florida g2202 °°

&, Christinn A. Snyder, 50 West First Street, Courtroam: 8D, 8% Floor, Los Angeles, Cilifarnin geoiz. _
‘7; Marcela Morales Howard, Chambers 12-350, Courtam 108, 360 North Hogan Street, Jacksonville, Florida g2202
.B-Angela Cote Dempscy, 401 South Monroe Street; Courtroom 38, Tallahassee, Florida 32402

49.Snra Hessler, 301 Scuih Monroe Strect,. Tallahassee, Florida g2g0r - oO

30.Guen Marshall, yor South Monroe Street, #100, Tallahassee, Floridagagpe

an. Advinn G Soud, gos West Adams Street, Division CV-E, Roain 740; Jacksonville, Florida gaacs:

42, Karen K. Cole, 501 West Adams Street, Division CV-B, Room 709, Jacksonville; Florida gaze

29; Peter L. Dearing, 501 West Adams Street, Division PR-A, Room 741, Jacksonville, Florida g2202-

ag. Harvey Lamnr Joy IE; 2000 Drayton Drive, Tallahassee, Florida g23909-0950--

25; Donald Richard Moran, 2Jr., 2300 River Road, Jacksonville, Plerida 32203 © So ye . .

if, Henry Lee Adams, Junior, g00 North Hogan Strect, Chanibees 11-200, Courtroom 104, Jarksonville; Florida 32263
«7. James R. Blinds, 300 North Hocan Strest, Chambers $214, Courtroom 5B, Jacksonville, Moridags205-
48. Sel Barry Toomey; 360 North Hogan Strect, Chambers 5-211, Courtroom 54; Jacksoncille, Florida 32262
29. Stephen Reinhaedt, 95 Seventh Street, Chambers: L.A. San Prancises California 94103:

Bi, Consuclir BT, Callahan; 95 Seventh Street, Chambers: Seramento, San Francisco Callternia 9403.

‘Bi Jnaqueline H. Guven, 95 Seventh Street, Chambers: Sarranients, Sen Francisce California 94263.
‘a2, Peter L. Shaw; 93 Seventh Street, San FrancisceCalifomineqigg ,

34. Pamela Jo Handi; The Capital, Suite PL-o4, Tallahassee, Florida gagg9-1650

‘2g. Rigk Swearingen, 2331 Phillips Road, Tallabassre; Mérida 32g08°

25. Chris Connell, 2931 Phillips Road, Talightssee, Florida 22308 '

26..D. Shinn, 525 Alameda Strect, Los Angeles, California goa1z

27 Lt. Ligaspy, 535 Alameda Street, Los Angeles, California go 0x2:

28, Mike Wood, 2825 Murletpal Way, Tellaissee, Florida 32304

2g, Mike Willems, 501 Fast Bay Street, Jacksonville, Farida 32202.

40..foey TB: Dobson; 1 Sheriffs Office Drive, MacCleany, Flaridag20o3 |.

gi. trish Anderson, 360 North Hogan Street, Suite 6350; Incksenville, Florida 32202

32. Cedric Donar, 706 North Hogan Streit, Sulte 6350, Jacksonville, Florids 3226

93: Kins Lee Watson, 300 North Hogan Strect, Sulte 2-200, Jacksonville, Florida 32262 -

24. Jin Haske, 300 North Hogan Sircet, Suite 2-200, Jacksonville; Toridage2o2.

25. Patrick Sheridan, 300 North Hogan Strect, Suite 2-200, Jacksonville, Florida y2z02°

36: Jorge L. Pasttane, 846 NE 54% Terrare, Coleman, Floridaagnat

37. Lary Brawn, 300 North Hogan Street, Suite 2-450, Jacksonville, Florida 3e202 _

gh. Ammeld Corsmaie:, 300 North Hogan Strect, Suite 700, dacksonville,Floridageepe
- 39. Monte C. Richardson, Chambers 5-411, Courtroom §C, 309 North Hogan Street, Jacksonville, Florida 32202.
40. Patricia D. Barksdale, 300 Nerth Hogan Street; Chambers 5-313, Courtroom 5, Jacksonville, Florida g2z02
. 4%, Poul Shorstein, 6956 Sb Augustine Read #303; Jacksonville, Florida 32217 oo
42: Sadi £2. Wites, Courtroom 268, 500 North Hogan Street, Jadksonville, Florida 32202

49. Sam Hernandez, 312 North Spring Strect, Room $54, Los Angeles Culliarnia 90012

44. Sheryl Loesch, 400 North Tampa Sireet, Sultegzen, Tampa, Flozidaggsor.

ag: Andrew 5. Cowzin, 914 west 9% Steret, Suite sou, Los Angeles, Callfornin goorg

46. Penelope Knobs, 300 North Hogan Strect, Suite 2-456, Jacksonville, Floridagzzoz-

47. Kim Casula, 600 U.S; Courthouse; 312 North Spring Street, Los Angeles, CA 90012-4703!
8A. Lee Bentley, 306 North Hogan Street, Sulte zou, Jacksonville, Florida gago2

‘49, Mae D. Beatevier, doo North Tampa Street, Suite gzo0, Tampa, Florida gg60z

30. Jacqueline Chaaljian, 312 North Spring Street, Courtroom 20, gv Floor, Los Angeles, Callfurmia 90012

Bt Manrié C. Grant, 1f,.200 West Forsyth Streat, Sulte 2240, Jacksanville Florida g220n,

7, Suzanne Segal, 255 Past Temipic Strect, Courtrooni 59, 5" Floor; Eos Augeles; Califorals 90632

33; Ramon De Leon, 2645 Bisenynie Boulevard, Suite 310, Miami, Florida 33192 - oo.

S84 Iolign Lacien Andre, 412 North Spring Street, Suite 2200, Loe Angeles, California 90022

$4. Donald &. MMairs, 1635 LaSalle Street, Jacksonville, Morida seve 7

5a. Eddie A. Jauregui, 312 North Spring St 00; Lass Calif
57. Donna Lee Elin, 200 West Forsyth Street, Suite 12.40, Tacksontille Florida g22cc.
458. Cathy 3. Ostiliay, 912 North Sprig Street, Sulte 1206, Los Angeles, Callfornia 90012
.§%. Germaine Seider; 400 North Tanips Street, Suite 3200; Tampa, Florida 3602.

‘60, Terri Nofisi; 412 North Spring Street, Roont G-8, Los Angeles, California goott

1. David P. Rhodes, g00 North Tampa Street, Suite g200, Tampa, Florida y3602:

+, Suite 1200; Los Angeles, California 96012:

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¢. Morith &. Radin, ‘Bah Pasts 2 Street, Los Angeles, California 0012" |

65s ae i Bi ohinecn, 2500  oalnehes Poeecie Shah, Herida sei09
44. Jesse Hashios, The Capital PL-sit, Tallahassee, Florida 32399-0307 |
68. Peter Stoumnbelis, io565 Creston Glen Ciccle East, Jacksonville, Florida 32256.
G9: Thomas J. Bfoffert, dr. 199 Si Semoran Blvd. Ste A, Orlando, FL 32907.
70: Richie Blanco, 4255 US Highway 17 South, Green Cave Springs, Fidrids 32045
71, Kenneth L. Green, 4255 US Highway 17 South, Giien Cove Springs, Morids 32043
72, Gerald Scott Rettman, 4515 Phillips Hichway, Jacksonville, Florida g2207
73: C.J: Roberts, 2000 Drayton Drive, Tallahassee, Florida 32399-0950"
74, $4. Thomes, 2000 Drayton Drive, Tallahassee, Florida gagg9-seso .
93.J.d; Usterhans, 2600 Drayton Drive, Tallahassee, (Florida y2ze99-n050
76. John Tamasine, 560 South Duval Sireet, Failahassee, Florida 32599
FFs Melissa Nelsin, 3i1 West Morrec Street, Jucksonvie, Florida g2202.
98. Angela Corey, 314 West Monroe Street; Jacksonville, Florida 32202.
7o-Ridhand: Mantel, 313 West Monrax Street, Jackconville, Poridy 42763
Ro. Jack Cainphel, ‘$01 Sonth Monroe Street, Suite 475, Tallahassee, Florida 32399-2530.
32 Bick Seat; The Capitol 400 South Monroe Street, Tallahasses, Florida g0a99-co0t
‘Ba, Derrick Spencer, qi50 Norwoad Avenue, ‘Jacksonville, Florids 32206
‘84. Danielle Knag 109 River Landing Drive, Suite 200, Charleston, South Casolliia 29geo-7595".
4: Heather Pridgen, 109 River Landing Drive, Suite 200; Charlesten; South Coralina 294227595
$4. Scott Willis, 109 River Landing Drive, Suite 200, Charleston, South Carvlittn 29422-7595
. 86. Willard Cannan, 2550-C West Penancoly, Florida go40.4:
By. L. Allen Heard, 302 South Monroe Strect 2.4m, Tilahassce, Blotida g2g04
“88. Dawn K. Hudson, 502 \est Adams Street; Division G,; Room 409/725, Jacksonville, Florida aton
89. Russell Heaty; £01 West Adams Street, Divisian CR-s, KReom 305/713, Jacksonville, Florida ga202
90, Chartes Cofer \407 North Laura Street, Jacksonville, Fioridn e202:
93.John Rutherford, 501 East Ray Street, Jacksonville, F Florida g2eas ~
92, Matt Shirk, 407 North Laura Stecet, Incksonville, Florida gz202-
- 93: Stephen EB. Whittington, 501 West Adams Street, Division CR-B, Room 408/793,Jacksonylile, Florida gezo2
94. Joseph Rudolph Gecondra, 411 West Monrse Street, Fatksonvilic, Movidd g2202
gg. Catherine Mitchel Licmidien, 311 West Bionroc Street, Jocksornille, Florida ganez
g&. Noel G.. Lavrerice, 1a East Union Stivet #400, Jacksonville, Florida gzz02 ° ~
97. Auigela M. Cox, 504 West Adams Street, Division CR-C, Raom 05/707, Jacksomille, Florida 4 gaiga:
‘98. ROchael Doritoe Kirkland, git West Monroc Street, Jacksonville, Florida g2202
‘99. Pamels 3. Harel, 4ze3 US Highway 17 Sauth, Green Cove Springs, Florida 32043,
100, Joshua Metead, 4255 US Highways Sonth, Green Cov e Springs, Florida 32045.
: 30 Adani Johnsen, 4255 US Highsey 17 South, Green Cove Springs, Florida 320.54
2, ‘Sergeant Erie Etcher, 4255 US Highway 17 South, Green Cave Springs, Mloride 32049)
tos" Alichael J. Coblicmn, 300 North Hogan Street, Suite 700; Jack«onville, Flarida 32202:
- 404, Gary Flower, 501 West Adams Street, Division N, Room 403/722, Jacksanville, Florida 32203
‘105, Hieal Derke , 501 West Adams Strect, Division J; Room 512/728, Jacksonville, Florida 32202:
108, Sharon Tanner, 501 West Adams Street, Division &, Roem 404/720, Jacksonville, Florida g2252:

107. Michael Corrignn: 234 East Forsyth Street, Jacksonville; Florida 32208
108: David J. Smith,. 56 Forsyth Street, WoW. Atlanta, Géorgia 30303.
: 405, » Molly G. Dwyer, : 95 Seventh Street, San Francisca, californis 540g
-2ia. Kiry K- Gray, 312 North Spring Street, Roem G-8; Los Angeles; California gn 61s.
‘att, Liss Reves, 717 Madison Place, NAW. Washington, District of Columbia 20005,
132, Peter Be ‘Morkueiner, 7ty Madison Place, NAW. Room 401, Weshington, District of Cohubia sca os
xy. NatievB. Firestans, 727 Madison Place, NW; Washington, District of Columbia: 20005"
. ‘a4. Wieror F. Wolsid, 7i7 Madison Place, N- Wey Washington, District of Colambia 26005:
24: David I. Briviley, 515 Rusk Avenue, Bauston, Texas 77002:
426, Edmund 6. Brown. ir. Sinte Capitol; Suite 1173; Sacramento, Californda, os81g
427. Jem Shiamote, 2475 at Svenne, Bail Station ¥ 3 461, Sadramente,- Cali fornia g581 Hasos
428, Jini McDonnell, ait West Temple Street, Los Angeles, California goarz
119. Teffvey Carnacci, 300 North Los Angeles Stress Suite <334, Las “Angeles, California, gouiz
120. Patricia Mazon, 360 North Las ‘Angeles Street, Suite 4924, Las Angeles, Califirnie gn0i%
21. Brandon Karr, 306 North Los Angeles Street, Suite 4334; Eos Angeles, Cullfornia got
2%, Monrecri Green, guo Nérth Los Angcles Strest, Suite 4334; Los Angeles; Califoria 9ooi2
ang, Barbara Gourley; '300North Lés Angeles Street; Suite 4434, Lis Angeles, California 90012
ag, Michael W, Cece, qo6 Nartti Los Angeles Street Snit= S934, Los Angeles, California: guar
485, Kamala Harris, 197 Hart Seriate Office Building, Washihgtors; € bls
i268. chal a Aare bau,” Post OF os Box 227, Washington, District oftalambia songs
Past offs ce Hox 480, Ben Franklin Stadion, Washingten, District of Columbia ana4d:

 

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Case 3:17-cv-00881-TJIC-JBT Documeni2 Filed O8/O01/L7 Page 23 of 74 PagelD 724

2a: Geaffeen Nilay Post Office Box 227, Washington, District bE Calumbia 20045,
). Risin fi. Saite, Past Office Box 26; “Ren Frankdin Station, Washingtari, District of Columbia 20044.

x, cons Court Renist dn neste System (CRIS), 925 Rusk Avene, Houstin,’ Texas 77002: .
Public Acuess fo Coust Eleriranie Records (PACER), Fost Office Hox 780549, San Antonio; Toms, yas78
oxi, oa Palle Stntes pict Court for eae eee ee ee cera District of Texas; m4 RusksAvenne, Houston, Texas F7GOS
cxxsil. Hnited Stotes Court of Appeals for the Hleventh Cirsult, 56 Forsyth Street, N. Wi, Atlanta, Georgia 30303.
eXdiL United States Court of Appests far the Ninth Cincult, 95 Seretith Street, San Francisco, Californii 03103.
mae Morida Sxpreye Court, 900 South Duval Street, Tallahassee, Florida 32309
cuxsy: First District Court of Appeal Marita; 200b Drayton Drive, Tallahassee, Florida B2399-0950..
bs the ifort is S50 1 West First Sircet, Las Angeles, Celifornia geo .
xXE Hida, s0G North Hogan Stree, dJagksonville, Fiotisa 22202 -
oxuxrii, c mbis, 333 Constitution Avenue, N.W, Washington, DO. 20007
oeods. United States Court of Federal Claims, 717 Badison Place AVS Washington, District of Columbian 20005
i Tiz Bladison Place, NW Room 404, Washington, District of Columbia s0005
1. Tiitornal Hevenne Sersce {TRS}, 1111 Constitution Avenue, Northwest, ‘Washington, District of ¢ Colombia
exndi. Colffornis Franchise Tax Board, Post Office Box 219, Rancho Cordova, California O573i-0229°
cexaxxiil. Dorval County, Florida, sot Lost Bay Street, Jacksonvilic, Florida 32202
‘exexxiv. Leon County, Florida, 2825 Municipal Way, Tallahassee, Florida 32304
EAs . Baker County, Florida, ‘3 Sheriff's Office Drive, MaicClenny, Florida 32663.
cuxxxvi. Loe Arinoies County, California; B21 West Temple Street, Los ‘Angeles, Colifornls gnois"
Teme, Cite of Juchkeanville, Flerida,; §02 Fast Bay Strect, Jacksonville; Flériiagz202
EE ee TS caende 2825 Municipal Way, Tallahasste, Moride 32904
cintis, City pf Los Angels, California, Ss West Temple Street, Los Angeles; California pq012
eu. Siate of Californian, State Capital, Suite 1173, Sacramento, California 95824"
‘cade State of Florida, The Capital 4o0 South Monroe Street, Tallahissee, Florida! S23gg-CODE. .
edi, United States Post Office, q75 UEninht Plozs; SAV, Washington, District of Colambia zosge.
orl, Social # 421100: West High Rise, 6401 Sceurity Houlevard, Baltimere, Maryland BARS.
pak Californin Departmentof Matar Vehicles, 24157" Avenue, Mail Station F 7G; Sacrament, California 9g318-2606:
¥- Los Angeles County Jail, mt West Temple Strect, Los Angeles, | Galifornia’ gauss:
Rit: ter Los enin; 434 Alameds Strect, Loz Angeles, California go ot:
pat 7a RE. Good te er 500 East Adams Street, Jacksonville, Florida gaz0=
ol. Beker County fretention Center, a Sheriff's Office Drive; MacClenny, Florida gzab3
eux Log Anzeles Police Department, 100-West £4 Street, Los Angeles, California 90012: -
‘eu, Los Angeles County Sheriffs Department, 211 West Temple Street, Los Angeles, California gou1t
evxi. Californis Highway Patrol; G01 North 7 Strext, Saccamnente, California 958i
‘eudi, Florida Department of Law Enfarsement, 2934 Philips Road, Tallahassee, Florida 32308
endl), i Jocksonsille Sheriit's Office, sii. East Bay Street, Jacksonville; Florida 32202:
oruxive Leon County Sheritfs Ottiss, 2825 Municipal Way, Tallahinssee, Florida 32304.
eixv. Baker County Sheriffe Oities, 1 Sheriff's Office Drive, MacClenny, Florida 22063
eon. U.S. Denartmentof Trinspertetion, 4200 New Jersey Avenuo, S.E., Washington, District of Columbia 20590
crxvil. District of Cotumbin Municinal Corporation, 12h Hays Street, Talinhassee, Florida, g2zaa ~
UNNI. United Stetes Corporation Company, 1201 Hays Strect, Tallahassee, Florida, $2301
‘eux: Florida Department of Highway Safety and Motor Vehicles, 2ga0 Apatachec Parkway, Talishoessee, Florida Btggo:
* SEEK: Florida Hishway Eateal, wane Normandy Boulevards Jacksonville, Florida 32205
; cuxat, Leon County dail, 2825 Biimicipal Way, Tallahossee; Florids g2304'
cpexik: n Sis ; #46 NE 54" Terrace, Colemm, Florida 33571.

Ne ene eee ee a ee ge

- fox, Bt tree , 5263 Gunbarrel Avenue, Suite B, Boulder, Colorada eog0r

crssiv. 0.5, Marshals Service. 300 North Hogan Street, Suite 2-450,’ ‘Jacksonville, Florida: g2cc2
-Srxxe. US, Probation snd Pretrish Services, 260, North Hogan Sireet, Suliz Ggg0 and Suite azo, Jacksonville; Florida gazoe
cuxkvi. U.S. Attorneys Office, 200 North Hogun Street, Suite yoo; Jacksonville, Plorida ga20%
ene ALS, Deparbyent nf Justice, ga0 North Hogan Street, Suite 700; Jacksonville, Flerida gez02-
ausavill. Federal Buresu of Prisnns, 320 First Street, Washington, D.C., 20544.
“erxexix Falmette Surety Corporation, 109 River Landing Drive; Suite 200, Charleston, South Carolina nggee-7505
toot. Derry Ball Ronde egga-C West Pensaccla Strect, ‘Tallahassee, Florida 92404:
is, 7 4650 Nomrood, Avenue, Jacksonville, Florida gaz.

 
  

     

  

 

ae a -Boneersa} anc interrationsa! {ummahizarian DdctSration For Sonmrmon Lio PrejicteméntiNet Ot Pax yaeiel Repdevin REPITSIY 140 0S:
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Universal and International Humanitarian Declaration of Facts.
14..'On or about April 14;-2020, declarant filed a UCC Financing Statement 10-7238787860:
with the California:Secretary of Staté evidencing his paraniouiit seciiity interest and lien on the
collateral: ‘described therein, ‘inéluding. without. limitation, declarant’s personal: body, all
fingerprints; palm prints, thambprints, RNA materials, DNA materials, geiies, bldod fractions,
biopsies; surgically removed tissue, bodily parts, organs, hair, teeth; nails, semen; urine, other
‘bodily fluids cr matter, voice-print; retinal image, atid thé deseriptions-therenf, and all other
‘corporal identification factors, atid: safd factors": physical counterparts, ih any form; and‘all
records, record numbers, and information pertaining theréto: and “All othier petéonil goods. and
pétsoiial. chattels désctibed there. (see-atnexed UCC-4 Financing Statement i6-7208787860.
‘Security Agreement and Indemnity Bond “Mi-Mio” in 4t Judicial Circait Duval.County
16-2017-CA-2142),

ig. On or about February 10,3016, declarant filed a Notice by Declaration and Affidavit of:
‘Consequences For-Infringeiient of Copyright / ‘Tradé-taine / Trademark Contract with the.
‘Duval County Recorder # OR BK 15166 Page 625-637 & 689-609 -evidending her paramount
security interestand len on the collateral described therein. (see arinexed Affidavit: Copyright /
Trade-name:/ Tridemark Contratt “Exhibit J1-J8" in 4 Judicial Circuit Duval County 16-
2017-CA-2144)..

46. Of oF about October i,:2010, declarant filed Notice of Claim of Maritimé Lien Instrument #
201054714241 in Putiam County Plorida, evidencing the continuation of his parimouit security
‘interest and.Hen_on the collateral described thetéin, inluding: without limitation, dedarant’s

personal body, and all other ‘personal goods.-and. personal chattels described.therein: {see

air Anteersal and thteersticial Humaritoitan Declaration Foy Camiaan haw Préfudaspem WiRé! PembealRepitn «= MIE OTT TED LS
1zaf 68 fe O17 SOU STS
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annexed Notice-of Claim of Maritime: Lien ‘Instrument 4 26105471424% Exhibit “Ni” in 16-

20147-CAsB142),

47-. Od ‘or about! August 3; 2020, déclitant filed. a ‘Notice: of Claim of Maritime Lien #
therein, including without limitation, dedlarant's personal: body, and:all other personal goods.
‘and-personal chattels déscribéd thetein.. (se dtinekéd Notice of Claim of Maritime Lien..#
RE603617765US Putnam County Florida litr. No. 201054710187 Exhibit “Ki in 16-2017-CA-

2144).

18:.On or about December 7; 2030, declarant filed a UCC Financitig Statement10+7253610 631
“with the. California Secretary. of State evidencing, the’ contiimation: of his: paramount security
interést and liew on thé cdllatetal described therein: including without limitation, declarant's
personal body; and:-all other peisonal goods and pérsonal chattels “described therein. (see

annexed GC-1 Financing Statement.10-725 3610631 “Exhibit 01-04" ih 16-2017-GA-2142)..

19: On.cr-abotit October 1, 2010, -decatant filed: Notice of Claim of, Matititne Lien. No.
RE603617867U8 Putwam: County Florida’ Inst.:No. 201054719722 in Putnaii County Florida,
evidencing ‘the eontinitation of her paraniount secuiity: fhterést. and lien. on. the collateral
‘désctibed therein, including without limitation; declarant’s personal body, and all other personal
goods and pérsonal chattels. described -thetein, (Séé-annexéd Notice of Claith of Maritiie Lien:
No. REGO361786708 Putnam County Florida: Inst. No. 201954713722 Exhibit “Ia” in 16-2017-
CA-2144)..

” Usiverselarid (ntarnaiiomal Huaritallan Deckavatian For Common Law Prijasamenthittof Privonalfepiesy- RB SIT S13 140 US:
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20.; On dr about August 36,2019; declarant filed 4 UCC Financing Statetnent 19-7975042314
with the. California Seerétaty of State -evideticing-the-cantiiiation of his paramount security
Interest.and lien on the collateral described theréin including without limitation, declarant’s
personal: body, and all. other petsonal goods and pérsonal chattels described ‘therein: (see

annexed UCC-1 Financing Statement 13-7375042214 “Exhibit Pi-Ps” if 16-2017-CA-2142)..

2, On.or-about March 9, 2010, declarant filed-a UCC Financing Statement + 2010059308
‘with ‘the. Cireuit Clerk. of Cotirt Duval County Recording, svidencing the continuation of her
paramount: security intérest afd Hen on the collateral described therefii including without
described thereli, (See annexed UCCa Finianting Staténient # 2910053308 “Exhibit Mi-M6” in

i6-2017-CA-2144).

Se, On‘or. abdlit August 26, 2013, declarant filed a UCC-1 Financing Statement: Assignment ig-
7730423 with thé California Secretaty of State evidencing the cantinuation of bis. paramoutit
‘Sécurity ‘interest, and lien on the collateral described thereiiy including: without limitation,
déclarant’s personal body, and all other personal goods and personal chattels deséribed therein.
(see aunexed UCC-1 Finaiciig Statement Assignment 19-73750423, “Exhibit Qi-03" in 16-2017-
CA-2142).

29. Of or about September 9, 2010, declarant gave legal ndtice, demand, and caveat to all the
Woild of owneiship, tile, cost schettile, levies, liens, and her paramount seeutity interest over
Syteria Hephzibah®"® Estate. (see annexed Legal Notice and Demiand “Exhibit Ni-Ni2” in 16-
2017-CA-s144)..

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20 of 68° HE 997 S49 153 US
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‘24. On-orabout March gi, 2014, declarant filed UCC-i Financing Statement 2014-2695084-
41,01 with: the Kentucky. ‘Secretary of ‘Staté evidencing: the continuation of his paramount
‘declaratit’s :personal body, and.all other personal goods anid personal chattels described therein:
(See anhekéd UCC Financing Statement 2014-2595084-41.01 “Exhibit Ra-Ruo” in 16-2017-CAs

2142).

25.-On-or-about..June go, 2011, declarant filed a UCC-1 Financing Statement-# 201104871708.
‘with ‘the Flotida Seciied Tyansaction: Registry evidencing the continsiation of her paramount
security. interest.and lien on the: collateral described therein ‘including, withaut limitation,
-declarazit’s personal ‘body, all-fingérprints, palui prints, thiimbprints, .RNA iiatetials, DNA
‘materials, genes, blood fractions, biopsies, surgically removed tissue, bodily parts, organs, hair,
teeth;. nails, semen; urine, other bodily. fluids or: matter, voite-print, tetinal ‘image,. and the’
descriptions: thereof, and all. other corporal identification. factors,. and. said’ factars” physical
-colinterpatte, it any forin, and all records, tetord ntimbers, arid information pertaining thereta;

other: persénal. goods: aid personal chattels described therein, (sée annexed: UCC

Financing Statement-# 201104871708 ‘Security Agreement and Indemnity Bond. “Exhibit O1-

O17" in 16-2047-Ca-3144).

26. On or about Jixie-11, 2014, declarant filed a UCCa Fhiancing Statement Assignment 14-
7415317710 with the California Secrétary of State evidencing the continuation of his:paraniount
Segurity interest and lien of the collateral deseribéd therein. inchiding: without limitation.
Geclarant’s personal body, and all othéx personal goods and personel chattels described therein.
(See annextd UCC-1. Financing ‘Statement -Assignntent :24-7415317710. “Exhibit '$1-§6" in. 16-
RO17-CA-2143),

or. Undetrsal and lnternational Humanitarian Deciatation For Common taw Frejadguient Weitef Personal Regen «= RIDGIT 529 L{D TIS’
210868 Si #17 SUF LES US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 30 of 76
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‘27.'On ot about March: 31; 2014, declarant filed a UCC-1 Financing Statéement'2014-269507%-
97-01 ‘with. the. Kentucky Secretary of State evidenciig the. continuation of her paramount.
‘security ‘interest. and. lien on the collateral described therein: inéluding, Avithout ‘Fimitation,
declarant’s. personal ‘body, all fingerprints, palin prints, thiinliprints, RNA maierials, DNA
materials; genes, blood ‘fractions, biopsies, surgically remaved tissué, bodily: parts, organs, hai,
teeth, nails, semen; ‘rine, other bodily fuids or-matter, voiée-print, retina! image; and: the
descriptions thereof,-and all-other. corporal identification faétots,. and said factors’ physical
<ounterparts, in any form, and.all records, record niimbets, and iiforsiation pertaining thereto;
and all- other personal goods. and personal chattels deséribed therein. (see: annexed UCC.
Financitiz Statement: 2014-2605071-97.01 Seturity Agreement and Indemniity Bond °Exhibit Pa-

Bio" in 6-2017-CA2148)

28....0n dF about hily 4, 2014, dédararit filed’d UCC Financing Statement Amendment 14-
74187475 with the. California Secretary of State evidencing: the continuation of his paramount
security interest and led on the collateral described therein incliding without limitation,
‘declarant’s personal body, and all dther personal goods and personal chattels described therein.
(Gee-annexed UCC-i Financing Statement Aésigament 14-74187475:“Exbibit Ti-Ts" in 16-2017-
‘CA-2142).

29. On ordhoutduly 6; 2015, declarant filed UCC-1 Financing Statement # 2015159501 With the
‘Clétk: Cikcuit-Court -Daval County Recorder evidencing the continuation of hei paramount
‘séchrity interést -and: lien. on: thé collateral deseribed theicin ‘iicluding without limitation,
deglarant’s personal body; and’all other personal goods and personal chattels described therein:

(see annexéd UCC-s Financing Statemiént # 2015153507 “Exhibit Oi-Q12""in 16-2017-Ca-2144)..

sf Uidvitsst and internathSail thuntrfoirten Dctaratton For Commed Law FrejodomeneWiitof Personal Replevin «RA IVY S49 1401 US
22 oF 68 RASOT7 S20 153 UR
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30: Oa or-about February 16; 2015, declarant gave public notice of his éopyright trade-name
and trademark oiilivie to all the world evidenced by, the-Public. Notice Online domiitients. (ee

annexed Public Notice Online Documents “Exhibit U1-g” in 16-2017-CA+2142)..

31. On or dbout Atigust 12,2015; declarant filed a UCC-a Financing Statement 2019185625.
with the: Clerk Cireiiit -Cotirt Duval County Recorder evidencing the. céntinuationof -her
paramount. security interest. and lien on the collateral described therein ineluding: withaut
Jiiitation, declatant’s persiinal body, and sll other petsonal. gdods arid personal. chattels
‘described therein. (see annexed UCC Financing Statement # 1015185625. “Exhibit Ri-Rg” in

16-2017-CA+2144).

32. On or about'February i9,-2015, declarant filed application. for registration. of fictitious:
“business nianié with. Florida. Department of State (see: annexed Florida Department ‘of ‘State’

‘Fictitioas Business hainé Application and Registration “Exhibit Vi-V9" in 16-2017-CA-2142).

38: On:or: about January 4,.2015, declarant filed ‘application for registration of fictitious
biisitiess panie:with: Florida Department of State. (sec-auniexed Flotida Départiietit-of State:
Fictitious Business Naine' Application and: Registration #G1g600000753 “Exhibit Si-S2” in 16-

2017-CA-2244).

34; Onor about March 36, 2015, declarant did authenticate his Certificate of Live Birth 606+

5018 -with the Seal of United States. of America Deparbirent of State which entitles declarant's
Ceitificate..of Live Birth: 5600-5018 t6 fill faith and-eredit.. (sed antiexed United States: of
Anierica Department of State Authenticated Certificate of Live. Birth. 5660-5018. “Exhibit W1-
W9? ii 16-2017-CA-2143)..

tor Universal and Inedretishal Muomanitirtad Dedaratin For Komaion taw Projidiement etal Persoraifepievin, = RUDLF S19 MODS,
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Case 3:17-cv-00881-TJC-JBT Document2 Filed 08/01/17 Page 30 of 74 PagelD 734
45- On or about Janunry 2, 2035, declarant gave piiblic tiotic’ to all the world of her copyright
trade-naine and trademark in the Folia Weekly evidenced by the Affidavit of Publication. Onor
aboiit January 6, 2015 declarant gave further notice to all the woild of her sopjight trade-siame
and tradeinark by copyright declaration ouliié evidenced by Copyright Deposit.#0031755 (sée
@tinexed Affidavit of: Publication and Copyright Deposit #0631755, “Exhibit T1143? in 28-2017:
CA-2144):

36. On: or.about: July 5; 2016; respondents were. given notice ‘by declaration and affidavit-of
conseduenées for infingement of declarant’s copyright / tradé-name / trademark contract. {see
“annexed Affidavit: Copyright / Trade-Namé./ Tradetatk Contract “Exhibit X-X5" in 16-2017-
CA-2149)..
5

37 On or about April 24, 2014; declarant did anthenticate tier Certification:of Live Birth 109-
1954-024113 {short form) and her Certificate of Live Birth 109-1954-614113 (long form) with the
‘Seal.of United States of America Department of State which entiilés declarint’s Ceitification of
Live Birth 199-1954-014119 (Short form) aiid her Certificate of Live Birtli 199-1954-014119:(long:
‘form) to full faith'and credit. (see: annexed United States. of America Departiont of State
Authenticated Certification of Live Birth 109-1954-014123: (shot form) arid her Certificate of

Live Birth 109-1954-014113 (long form). “Exhibit U1-U6? in 16-2017-CA-2144)..

Estate Allodial Cost Schedule ‘for compensation fér the infringements, damages, aiid sanétions
listed therein, The respondent(s).did agree t6 ‘Taquan Rashie Gullett®“® Estate Allodial Cast
‘Schedule and did'accept all the terms, éonditions and stipulations of Taquan Rashie Gullett©"@
Estate Alladial Cost Schedule evidenced by respondent(s)' condiiet. (ebé: annexed: Taquan

nivéca and titernational Hamster Bectaraton ftir Conaraco taw Prapatiment Wat ot Perparal Repiogn «RANI MOUS
. 24 of BB REHTSI 1530S
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 33 of 76

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Rashie Gullett®™® Estate Allodial Cost Schedule Allodial Cost. Schedule 16-2617-CA-2142 [RB
927 349 ig0 US] (Registrar (Probiite Court) Recotdér Doe #2017082163; OR BK
17540, Page 1662) “Exhibit Yi" in36-2017-CA-2142).

39: O1.oF about July. 6, 3615, dédarant recorded Affidavit of Ownership of Certificate of Title
swith the Clerk Circuit Court Duval-County Recorder # 2015153624 evidencing the-continuation
of hei paramotint sécurity interést-and lien on the collateral-described therein, (see annexed

Affidavit of Gwnership of Certificate of Title “Exhibit Vi-V9" in 16-2017-CA-2144)..

4a, Ono about. Rily.5,.2036, responderits were given notice of dedlarant’s. Silver Sirety Bond.
With Collateral and notice of Fiduciary Appointment, ‘The réspondent(s)..did acknowledge,
uriderstand, cénséit, iecept and agree to alll of the terms, conditions, arid stipulations contained.
within declarant’s Silver Surety Bond by tacit acquiescence, inclisding without limitation, each of

‘the Account Holders.and Accounts Hsted therein.shall be severally insured, underwritten, and.

+a wee

respondents did acknowledge; understand, consent, accept .and agree: to-all of the terms,
‘coliditions, arid stipiilaticins. contained, within declataitt’s Fidiciaty Appointment Contract by
tacit Acquiescenté, and xespondents are bound to: the performance: specified ‘therein. (see
annexed Silver Surely Bond with. Collateral; Notite of Fiduciary Appointment, ‘Notice of
Maritime Tien & Invoice “Exhibit Z1-Z2s” ii 16-2017-CA-2142).

or Universal and internstiorial Numianitaran Declaration Fir Carnenean taw Presetement WritofPersinalRepicin «= RA GIT S19 OWS
ble. 25.0F 68 ‘BE D7 SH 153 ES
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43. On-of aboiit April 13, 2036, respondents were given notice:of Syteria Hephzibah®™® Estata
Allodial Cost ‘Schedule for tompersation for the infringements, damages, aiid sanctions listed
theréin, Thé tespohdent(s) did agree to ‘Sytéria Hephzibah©”© Estate Allodiél Cost Schedule.
‘and did: accept all'the terms, conditions: and stipulatiotis of ‘Sytetia Heplizibah©”® Estate
Allodial Cost Schedule evidenved by réspotidént(s)' actions and conduét. (see ainexed Syteria
Hephzibah ©°@ Estate Allodial Gost Schediile.16-2017-Cé-2144 [RE 917 549 193 US] (Registrar -
(Probate Court) Recoider Doe. #2617085196, OR BK 17946, Page 1569) “Hehibit
‘Wa, We" in 16-2617-CA+3144)..
42: The declarant was unlawfully arrested and unlawfully detained on February 12, 2015, at the
United States District Court for the Middle District Florida J acksonville Division () “without
‘the required signed and returtied arrest warrant;.(B) withot any-loval detditier originatitig cit.
of California with:thé Los. Angeles. Cotinty Sheriff's signaturé upon i (C) without any federal,
‘complaint supported ‘by an affidavit originating from the U.S. District Court Central: Distriet of
California:with a federal judge's signature upon it; (5) without any fugitive warrant originating |
“oi Of the.U:8. District Coit Central District of California béating the signatites and sedis af a,
district court jiidge.and the Governor of Califernia. (see 16-2017-CA-2142),

43: Oi ox about May 23, 2016, respondents were given notice of declarant's Silver Surety Bond

“with Collateral :and Notice of Fiduciary Appointment. The respondents) did acknowledge;.
within declarant’s Silver Suraty Bond by tacit aé(pilescence, including withott limitation; each of
‘the Account Holders and’ Accounts listed therein shall ‘be severally insured, underwritten, and
indemuified against any abd all firture abilities as niay Come to éxist, discharging and vacating
all such obligations for arly amount of fiat private commercial: paper without exception. -Alsi,
respondents did: ackowledgze, tindeistand; dousent, -accept and: agrée to-all of the-temis,.
conditions,.and stipulations contained ‘within dedlatant’s Fiduciary Appoliitnedt Conbiact. by

Universal und fiecmationa) Humatitaitin Oéetarstion Fortomnn taw Prejuktonsent Wit of Persenctepiovn §— 2919 $49.14 US
26 of 68 BUTT SA 184 US"

 
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tacit acquiescencé, aid respondeiits.are bovnd-to the performace specified therein: -(see:
amnéxed' Silver Surety Bond with ‘Collateral, Notite-of Fidubiaiy Appointment, Notice: of

Maiitinie Lies &cinvoive “iahibie XeXis” in w8-aony-CA-angd)

44, The déclarant's peivon and property was unlawfully seaschéd aid ssized without warrant,
‘Deputy: U.S: Marshel.Larry Brown subjected-déclarant to urilawfil warnintless. arvest and
‘Sicessive force by assiult:and battery and. he did bash déclarant’s head face-first into:2. steel
bean and did-also-choke-and taunt declarant while the U:S:. Marshals: Seivice: Deputies. todk
booking photos: (see 26-2017-CA-a142):.

45: The declarant was unlawfully arrested aid ‘unlawfully detained én February,s, 2015. ‘The
declarant’s person.and propérty was unlawfully searched and seized without a proper warrant,
‘Deputy U.S: Marshals. subjected declarant.to sexual battery. by paititig her down or her etotch;
buttocks, and breasts, The attest was neither supported by.a proper Affidavit of Probable Cause
Hor ‘Was: it: supported ‘by..a. proper Criminal: Complaint. Neither the defective..affidavit of
Probable Cause, nor the defective Criminal Complaint; nor the-defective Arrest Warrdnt-are in
‘compliance with due process df law. .(seé-46-2017-CA-2144).

46. The declarant was unlawiully detained at Baker County Detention Center and ‘Métrdpolitan
and/or seiviiig. sentences and/or held ‘in. custody pending appeal of their sentences. (sde 16-

2o17-CA.2149)..

47. The declarant was kidnapped / abducted by the U.S, Maxslial’s service and Baker Cotinty
‘Shetiff's. Office, and Jacksonville ‘Sheriffs: Office and -declarat was. subjected t6- human
trafficking and involuntary servitude by unlawful detdinment at Baker County Detetition Center

‘and John E; Goode Detention Center. {see 16-3017-CAc2144).

way Unéversiind intarnasiapal Hnavttarien Declaration For Commman aw Prejmimem Winer Pic ables «= ABSIT S194 ES
* 27 .ofF GE RB S7S49 Bsa CS
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 36 of 76
Case 3:17-Cv-00881-TIC-3BT Document2 Filed 08/01/17 Page 34 of 74 PagelD 735
48. The declarant was initially denied bail for-reserving and exercising his right-to remain
silent, ‘The declarant'’s right 19 bail was. afforded ty’ him after approximately. 8 months (236
days) Of unlawful: détainnieut at Metiopélitan Detention Center in Los Angeles. Thé same
‘conditions were ‘present at the: tite bail-was initially deniéd as iveté présent when tail was

‘Branted: (see 16-2017-CA=2249),

49. The-declarant was subjected to foiced medical testing by DNA swabs, finger printing,
bookirig photos; x-ray, and injection of tuberculosis digainst het will, without her consent, aiid
Marshéls holding jail, at Baker County-Detention Center and Jolin E. Goode Detention Center,
{se816-2027-CA-2144):.

Shériff's Office, and Federal’ Burean, of Prisons, froni Jacksonville Flotida state, and was
subjected: to human trafficking atid involuntary -servitude by unlawfol detainment at
Metropolitan Detention Center in Log Angeles: (see 16-2017-CA-o143).

process that might incriminate: her i¢. infringed mpon’ by respondent(s):/ defendantts) ‘by
requiring drug and testing as:a condition 6f borid.on pretrial releasé. United States v. Scott,
‘Ninth. Circuit No: 04-10090- (2005),. fuled 2-i that drug testing of Prebvial ‘Released is:
‘uiédnstititiohal. (see Bond Form for Conditions of Relédse). Also, the. subjectemattar of the:
intent of these conditions Have nothing to do.with ensniing the:safety ofthe community.ot

enstiring that declarant appears i COUrt. (ste 16-2617-CA-2344).

i Universsd and Niternational Humahitarlan Deelaration For Common Law frefuderent Wika Peron Reis = RESITSIG AL'S
aa 28 of 68 RA S17 39 1353 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 37 of 76

Case 3:17-cv-00881-TJIC-JBT Document2 Filed 08/01/17 Page 35 of 74 PagelD 736
52.. The déclaraiit was, siibjected ta forced medical testing by x-ray and injection of tuberculosis:

t his-will; without his consent, and azainst declaratit’s volition, at Baket County Detention.

Ceritet and Metropolitan Detention Center in Las Angeles. (see 16-2037-CA-2142).

53. (On the record and for the record, declarant has. demanded respondeuts.compensate her for
their multiple ‘infringeménts -arid ‘dimages. ‘The réspondext{s) and réspondent(s)”’ officers,
agents, eniployées; sucéessirs, and assigns in active participation or acting in concert with then
have been vepeatedly, adequately, and timély Notived of declarant’s Natuial Tights and Huinan
Rights to due process: of law, déclararit’s denial of consent to these. proceedings, declarant’s
‘denial of vallition to these proceedings, and they have igdréd sueli Notice atid have expressed
dear ‘inteiit 19 further dnfinge upon-declarant’s. Natural rights-and: Human. Rights. In the
abeetice ‘of itimediaté and expeditions restraint there is.a likelihood ‘of inimediate irreparable
injury by further itifringement on. the part of the respondent(s) without an onder granting this
Universal'and International Huiaaitariai Déclatation for Conon Law Prejudgment writ of

‘Beisonal Replevin. (Seé 16-2017-CA-Si4q).

$4, The declarant’s due process of law right to not be compelled to be hivelved in. compulsory
process that might incritninate him is infriiged upon by the court by requiting drug and alcohol
testing: as a.condition of bond on pretrial rélease. United Stdtés v. Scott, Ninth Circilit No. 04-
‘Forni: for Conditions of Release pg: 3&4). <Also,:the subject-matter :of the allegations in this
matter: have nothing-t0 d6 with drogs-of aldohol- ise or possession, and the intent of these

conditions “have, nothing: to do-with ensuring the saféty of the eommunity or ensuring that

Universal and ingernition#) Hadweitaslem Reclaratioa For Lomrooh LawPritatgment Witat Pasoraifeniin = RIT SHY EUS
ni . 29. of 62 RB OF 21) 153 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 38 of 76
Case 3:17-cv-00881-TIC-JBT Document 2 Filed 08/01/17 Page 36 of 74 PageiD 737
§5+'On thé rétord and forthe récord; deataraiit hias demanded téspondenits éotipensate him for
their multiple isfringéments and ‘damages. The respondeiii(s) and respondent(s)' officers,
agents, employees, successors, and assigis iii.active participation or acting in conéért with them
have been repeatedly, adequately, and timely Noticed of dedlarant’s Natutal rights dnd Hunan
Rights tb due procéss’ of law, declatant's, dental of consent ti these. procéédings,: declarant’s.
denial of volition. to these proceedings, and they have ignored such Notice atid have expréssed.a,
-dlear intent td. further -inifrings: upon declafarit’s ‘Natural rights-and! Human Rights. In te:
absence. of immediate and expeditious restraint there is:a ‘likelihood of immediate irréparable.
injury by further infringement on the part of thé respondent(s) without ah order granting this,
Universal and Intemational Humanitarian Dedlaration for Common Law Prejudgment Writ of
Personal Replevin. (6é@ 16-2047-CA-2143)..
Universal and International Humanitarian
CommonLaw Agreements (Treatiés).

56. The term “estate” is a legal ‘constrict first forined’ under the statutes-of tie Realm of
Englatid and the term also applies to those tights; titles, interests;.and obligations first fornied
by the Divine Creator of All expressed in trust and granted ta the eoibined body, mind and saiil
of éach and every People: upon Geibg born, As-all legitimate autliority dnd. offies is ultimately
‘derived fromthe Divine Creator of All. While by tradition uf law; aniothier-Estate nity claini the
right to administer “abaridoned property” and the affairs of suck an Estate lacking an effective
eonstitution or duly-appointéd government, when clear and unmistakable proof is provided that
such:a condition has been remedied, no dthéi Estate tor lesser corporation derived fiom it-tiay
claini rights of administration of jurisdiction.

97. Universal. and Inteinitional, Humanitarian Cobinion Law. Agteements (Treaties) are
‘basically contractual agréements.and/or undertakings between states, or-betivean states. dnd
international organizations, which give ris¢.te lawful rights and thitiés (see Law of Peace, supta;

niveranl aed boteriaticral Hurhatitarian Deelivation Fae Cicero Law Preiieemmen Wat oT Pemonl esieia «= RB YT SIS DS
30 of 62. RUGHTSi9 ISS LS

 
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Case 3:17-cv-00881-T3C-JBT Document 2 Filed 08/01/17 Page 37 of 74 PagelD 738
page B8-1};. International agresinents. may codify existing clistoniary law, modify or-abiidge

existing customary law; of éréate new international law nonns..

$8: Universal and Tnternational Humanitarian "Conon Tae Aarevanets ee ‘ei feats) Ue they

‘eases. Thus, tis the substhisse of each International Agreement, (Treaty) whith is-important and
Bot its destriptive title (G88 Kelson; Principles of Interiational Laui 318 (i952). Myers, Nemes

and Scope of Treaties, 51 Ani: J. lav 1L. 574 (1057):

59. The term treaty; perliaps the most comimion word in tntemational contractial parlance, i
‘used in.a broad. sense to mein any international agreemeiit, or it 4 Féstticted'sense to mean d
Particularly formal type of international agreément. "Treaty" has.a special meaning undei-
United: States: municipal law (see: Article UI, section 2; of the:1.S.:Conatitutioii delegates the
‘power-to the President "... . tiy atid with the Adviée and Consent of the Senate, to stiaké Treaties,
provided two thirds-of tlie Senators present concitr,” and Article: VI, paragraph 3, provides that
"..- dll Treaties made, ot which shall be made, under the-authority of thé United States, shall ba
‘the supreme Law of the Land");,
60.. The term protocol refers to -suppleniéntaty agreements (see I. Oppenheim; Interiititianal
Law 878 (8th ed.; Lauterpacht 1958);

a) A concordat ‘isan: agreement: by ‘a ‘State: with the. Holy See; however,. ugreaments

‘Between the ‘Vatican and .other-states. need: ‘not be called eoncardais (see 7.. Hyde,
International Law 25-26 G 945):

b)-A process verbal i is.an official retord of a meeting .or conference {see J,, Oppenheim,
supra, note 8 at 878).

ic} A. tiemmoire or side- memoire. is .a .diplomatic: ote -siimmarizing the diploniat’s
understanding of a convaention..A note verbal i is hardly distinguishable from a wiemoire

. * MUsiveusal ard feterrcational Humanttirlact Deehanitios Far Commit Lays Prejudgment Writ of Personal Reptavir RUST? MM? if Ua:
41 OF 68 REST SI ESS US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 40 of 76
Case 3:17-cv-00881-TJC-JBT Document2 Filed O8/O1/17 Page 38 of 74 PagelD 739

except that it is unsigned -and ‘stinmarizes diplomatic: discussions: (sée -Law af ‘Peace,.
‘Supra, page 8-1,'8-2).

d}. Sometimes: especially formal agreements are. deseritied as Acts; General Acts Stitutes,
or Declarations. {see &. Be» Caveat: Declaration of Final Default Judgment 16-2017-CP=.
2025. [RB o17 549 140 US] (Registrar. (Probate Court} Recorder Doé # 2017104658, OR
BK 17971, Pages. 674-680); $86 6g. ‘Caveat: Declaration. of Final Default. Judgment. 16-.
2017-CP-1020 [RB 917 549 153 US] (Regisirar (Probate. Court} Recarder Dac #
2017104576, OR BK 17971, Pages 808-814); See @.g.; The General Act of Berlin. of 1885;
‘tie. Statirte of. the: ‘Permanent Cotirt of International’ Justice; the Declaration of Paris of
1856, and the Declaration of St. Petersburg of i868).

 

e) On the ather- ‘hand, the-temn. Con neress Of Conference may: be. substituted for these-
terms,. This- practice is, however,: a loose use of the-terms in. question: Thus the: -plirasé,

"Cotigress: of Viena" is loosely used to refei-to the Final Act ot the’ actual agreement
recorded, by the principal Powers it 1815. after the downfall 6f Napoléon (see
N.RMartens, Recueti de Traitks:2, 379);

fy A modus -vivendi'. js: usually: a temporaty or ‘provisional arrangement (See 5: G.
‘Hackworth, Digest of Intemational Low 392; 4i4 (1943))..

ga compromise may signify al agreement generally, of a conciliatory nature. Ibis also
used te describe. the. agreed termes under which an arbitrator is. enipoweréd: to decide a
dispute between: ‘two states (see W- Bishop; international’ ‘Lait 62 (ad-ed. 11962),

63. Article: 2(1), (2)-of the Vienna Convehtion. defines. treaty. as-an.intémational agreement
coricluded between tivo states.ii written form-.and governed by international. law, whether
enibodiéd.in.a_ single: instrument. or in ‘two or: more related instrumaiits, and. whatever «its
particular designation,

” Common Law Agreements (Treaties)

62. Formal Requirements. The traditional procediire for the-conclusion of ah intemational

‘agréément is for the patties to record their ¢ommon interition, artived at after négotiaticn:

 

thiough diplomatic or other chamnéls or at @ cinfetence'of interésted states, in.a sitigle formal

Untvevsstand Interestions! bismanieyter: Dettarstion For Snenonn baw Beejucigimesit elt of Perscast Heglevin- BRROI7 519 140 OS.
320768 HB IT S45 [S3LS

 
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 41 of 76

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instrument. This-is still the normal procedure for international agreements (see Law of Peace,.

Stipra, page 8-4).

63: ‘One: of the conspicuous modern developments in-treaty-nidking. proveduté, ‘however, has:
been the:rapid increase in the nuniber and frequéney of agreements recorded in simplified form.
Probably 4 majority of thé agreements currently concluded dre effected by the simple exchange

.of diplomatic notes recording the termé of the proposed agréement and the consent ofeach state

 

‘concerned to be'boimd thereby (see Law af Peace, supra, page 8-4).

64. .A treaty relationship may also.be created ‘by itidizéct manifestations. of cénsent;.as when

‘states-consent to‘the compulsory jurisdiction of the Intemational Couit of Justice-by méans-of
uniilatéfal dédlarations deposited with coumon reference to Article 36(2) of thé Couit's siatiite,
The exchangé or.deposit of notes verbales may also give rise ta atréaty relationship (see Law of
Peace, supra; page 8:4).

‘65. Oral Agreements, The validity of oral agreements is widely admitted, whether they are'later’
reduced to writing:or not. Although Article 2.0f the Cotiventicn: reqiiirés. that. tieaties ‘be “in
written form,” Articlé’g provides that the fact that.a treaty is not in-written form:shall not affect
the legal foree-of the agreement. Thus, under existing. international law, there is. nothing to

prevent an international agreement from being made orally (See Law of Peace, supra; page'B-4):.

G6, Written Agreements, The géherally favored view is that the written instrument alone shauld
be regarded as “the treaty.” Thus,.akin to the “parole evidence’ rule in municipal Jaw, working
‘papets and other evidence.of the drafters’ intent may stot beused to modify:the clear words of
the writtel docuuient (see Harvard Research, supré, note i9; Jurisdiction of the Commission-uf
thé. Oder iig2g1 PCA, ser. A, No.-33, at 48. But-see H. Lautetpacht, The Déevdlapmerit of
International Law by the International Couit 136-37. G58);

we (Bohierat and invernctiana’ Humdnitariay Declaration For Conviton haw Preludamemt WiitoF Personal Repioh = RESIF SHY HO US
Rye. 33 of 68: RENT S49 Th Bs
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 42 of 76
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Consent to Be Bound by.a Universal and International Humanitarian

Commén Law Agreement (Treaty)

 

67..In general, the text of a treaty is Considered to be adopted:upon: thé. consent of all states
participating in its-drafting.or, at an intémational cotiferenta, by. thé vote of two-thivds of thé
‘states preseitt and Voting, imless, by the sdié-itajority, they shall decide 16 apply.a different.
tule. (see Vienna Convention, supra, at Article 9), Consent may be expressed. by ‘siguatute,.
exchange of instriuiients constituting atreaty, ratification, acceptance, approval or accession, or
any other means if the treaty so provides or itis agreed impon by the states hivélved (see Vienna:

Convention, supra, at Articles 11-15),

68:. Oncs.a state. has- signed -or exchanged instruments. subject to ratification, ‘acceptance, or
approval,:or has: expressed. its consent to Ke botind periding entry ‘iiito force of the treaty, it.

must refrain from.acts.which would'-defeat #

     

& object and purpdse. of the:

 

apréement. (see Vierina Convention, supra, at Article 48).

69. Increasing. numbers of treaties-provide foracceptance” or "approval" as:a: substitute for

“acceptance or “apptoval" is-that the latter témis imply léss fofmality thiatt “tatification" (See
Ltni of Pedée, supra; page 8:5).

7G. The Vienna: Coavention provides that-unless othenvise sisted in- a‘treaty, instruments of
vatification, acceptance, approval, or accession éstablisti the eotisént Hf a state td be boiind upin
hotification to the contrasting states or depositary (see Vienna Conven tion, supra,at Article 12),

afte Univers ani litemationdl Mumaritarian Dedliration Fig Commantam Prekutenend Wit ot formal Renin «= REVATSI9 140 US
“34 oF 68) RB 7 9 LG ES.
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Entry into Force of Universal and International Humanitarian

 

be bound has been established for all of the negotiating states (see Vienna Convention,

 

supra, at Article “eat and (2). Ifa State's consent id be be hound is established on a date after the

Conven seit supra, at Article bala).

‘The Validity, and Effect of Universal ‘and International Humanitarian
Common Law Agreements: (Treaties).

72: The Binding Forcé of International:Agreements is basically a contxact binding force Ketveen:
‘states, and elements of obligation akiti to those found in municipal contract lay aré present Tt ig.
the: assent to be bound that -ablgates thet parties. As ofid writer has observed my  Heismerely a

‘persons or. hy international organs as mieait to pioduse ie consequénéesin tntetsttiona law"

(See G. Schivarienberger,:A Manual of Iernational Law 224 (1960)). “The Vienna Sonvention-
‘provides that". ..7a treaty enters into foreé as 8600 as consent tobe bound by the tréaty’has bean
established for all the negotiating states" (see Law of Peace, supra; page 8-9).

"73: The respondent(s) / libelee(s) /, propounder(s) have: willfully-nd. voluitarily consented
occupy an Executor De Son.Tort position which'by Divine Law, Universal Law, Liternational
Law, Humanitarian Law, aid Commin Law demands that the eceupter of suth position -he
‘subject to. fiduciary obligations under oath for thelr coaduct and execution of duties mérely for
the putpiose of being. sued for theit:acts Be Son Tort, Thezefore; ii accord with Divine Law,

Universal-Law, Inteniational: Law, Humanitarian Law, #id:Comuion. Law, sufficient grounds

exist that the respondeat{s) /° Ubelsets} / propdiinder(s) by their own.actions and.conduct De
ax ‘Urivermabarid tntariasinna! Huraaririae gclratian Fos Giinman taw Brdlotsrrmnt Witt Personatteptevin RA 17 549 149 Us:
(35 of 8: REDBITSH SUS
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 44 of 76
Case 3:17-cv-00881-TIC-JBT Document? Filed 08/01/17 Page 42 of 74 PageiD 743
Son Tort have at the very least agreed to contract with Taquan Rashie Gullett®-® Estate, Syteria
LawrénceS”® Estate, -and AAMARUG"® Alien Religious Consul Association, hereinafter,
“AAMARUS"® Estados Union Ea Al Mauitkanos,” and be subject to its laws: and

‘Piidelinés when engaged “Dé Son: Tort in- business or property of AAMARUS™® Estados

Union Ke Al Maurikands aud even to be bound’ to theif. ‘own oath of. office to conduct

74. Parthennors, the réspondent(s) / libelee(s) / ‘propounder(s) are persons who through their
a¢tions and conduct De Son Tort do at the Very least acknowledge, understand: corisent, accept,
ind agree ito-all of the-tentis, conditions, and. stiptlations of the following Universal avd

liternational Humanitarian Common Law Agreemiénts (Treaties):

a Notice: of “Trust. Declaration: of TAQUAN RASHIE- GULLETTO*@ Estate 16-
2017-CP=1286 [RB i O17 349 4q0. » UST (Registrar (Probate Court} Recorder Doc #
2019104658, OR BK 17971, Pages 978-982);

a . Notiée of Trust: Declaration. of SYTERIA LAWRENCES"® Estate 16-2017 L7-CP
1287 [RE 917 549 153 us} (Registrar. (Probate Court. Recorder Bac #
2017104679; OR BK 17971; Pages. 922-936),

@ Caveat: Deédlaration of Final Default Judgment i6-2017-CP-1025, [RE 917.549
140 USL. (Registrar (Probate Court) Recorder Doc# 2017104658, OR BK.17971,
Pages 674-680), TAQUAN RASHIE GULLETTS® Estate Authenticated Birth
Certificate, Registered, Copyright, ‘Registered Trademark (united states for America Post
Office No. RE246590423US8), Copyright / Tridé-Name / Trademark Contract,. Registered
Fictitiviis.. Name. (Florida: Department of State No; 615000018576), ‘Registered: Suréty
Bond with ‘Collateral (EL 156253975 US), Fidiitiary, Appointinent Contract (EL
156253975. U8), Taquan. Rashie ‘Gulletto“s Estate -Allodial Cost: Schedute. 16-2017-
CA+2142 (RB 917 549 t40 USI (Registrar (Probate: Court) Récorder “Doe
#2017082163, OR BE 17940, Page 1662), Paramount Security ‘Thterést
Holder ‘(Maritime ‘Lien No. RE246590573US. Putnam County Florida Inst. No:
201054714241, Galifornia; UEC. 10-7228787860, California. UCC: 1077253610631,
California . OCC: 19-7375042214, California uce . 13-73750423, California UCC a4-
7415317710, Kentucky pce 2014-2695084-42.01), over all'alpkabetieal: and/or Humdrical
derivations :and/or. variations. of. TAQUAN. RASHIE GULLETT®”® Estate Letters

Patent, Sign Mantals, ‘Rights, Titlés, and Interests. inclusive withaut: limitation of all
annexes thereto;

~ Ubdcersal and tnteetstional Hurmariterian Dechratlon For Common LawPrelinigrent Writet PersonsiReplavin = HEE YE 7 S49 Hes
36 of 68° MEILTS 153 US.
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 45 of 76

Case 3:17-cv-00881-TIC-JBT Document 2 Filed 08/01/17 Page 43 of 74 PagelD 744

Caveat Decliration. af F Final Default. Judgment: 16-2017-CP-1020 [RB 917 549
153: USI (Registrar (Probate Court) Recorder Doc # 2017104679,, OR BK. L7OT7A;.

‘Pages 86 $-814), SYTERIA LAWRENCES"® Estate Avithenticdted: Birth. Certificate,
‘Registered Copyright, Régistered Tradéinark (Copyright Deposit No. 99317553, Copyright

f Tradé-Name, f Trademark Contract, Registered Fictitious Name (Florida ‘Department af

Fidticiany Appointment Contract (3315-00016), ‘Syteria LawrenceS"8 Estate Allodial

Cost Sckedule- 16°2017-CA-2144., [RB 917 549 153 US] ‘(Registrar (Probate: Caut®)

Récdrder Dac #2017082126, OR BK 17940, Page a5093,, Paramount

“Security: Interest Holder. (Maritirne: Lien. No. ‘RE603617867US Piitndm County. Florida

Inst. No.. 201054713722; Maritinié Lier Noy. REG03617765US. Putiam County. Flerida
‘Totr. No. 1201054710187; State of Florida UCCNo. 2010053308; State of Florida UCC No:

201104871708; ‘and Kentucky Secretary of. State UCC Filing. No. 2014-2695071-97.01,

Duval: County. Recorder yee Piling # 2015153501, Duval County. Recirder UCC Filing-4
2015185628), over all alphabetical aid/or- numerical derivations. and/or: varidtions- of
SYTERIA LAWRENCE®"® Estate Letters Patent, Sign Manuals; Rights, Titles, and
Interests inchisivé-without limitation ofall auriexes theteta:,

Affidavit. of Alien Religious: Consul. Association (see Notice-.of Trusti
Déédlatation of Taguan Rashie Gullett®”"® Estate 16-2017-OP-1286. PRE 917 549
140 Us] / Declaration of f Syteria Lawrence Estateo"s, 16-2017-CP-1287 [RB gay

3.

18009, Pages 887-097, gtk Judicial: Circuit Duval County 16-2017-CA+2142, at. BCA
Appeal, 1D17-1699, 2tDCA Appeal 1017-4851, and all BONEXES therato;.

Letter: Rogatory: Indemnity Bond and Hold Harmless Writ of Assistance [RE

917. 549.153 US] (Regiswar. (Probate. Court} Recorder Doe €. 2017133130, OR.
BK i869, Pages 931-941), at Juditial Circuit Duval: County. 16-2017-CA+2144, is
DCA Appeal 1Ds7-1538, 1° DCA:Appéal 1117-1852, and all'annexes therets;.

transfer bond: foifetture or contract 201sCFa44a4A) IRB QN7 549 iggUSh

‘Notice of Default and Estoppel {allézed ‘transfer bond forfeitire fF -Govitract

2015CF3444A) [RB 927 549 153 US);

Universal andi ternational Humatitarian Sedaration ForComman tawPrdiatyment vitatPesonitesievis «= HRT OS
‘B7 af 63: RE ITS15 153 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 46 of 76

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a

AAMARDG® Estadas Union Eo Al Meurikemos Tile, Rights, and Interests Pérfected'- Notice

 

‘of Tr ‘Declaration of TAQUAN RASHIE GULLETTS® Estate 16-2615-CP-1386 RB O17

 

-§49 149 US] (Registrar: (Probate Court):Recorder Doe ‘20171 04658, OR. BK 17971, ‘Pages: 978-982);

“Notice of Trusts. Detlaration of SYTERIA LAWRENCES”® Estate 36:2017-CP1287 IRD

Rx

: Affidavit of inf rmation. Re ort, 3 and. Preferral of Charg ESt Criminal

 

17 S49 15 3.US] (Registrar (Probate Court) Recorder Doc # 2017104679, OR: BE: 17971, Pages: 033-

926); Affidavit of Alien. Religious Consul Association {ser Notice of Trust: Declaration... of
Taquan Rashie Guillet!" Estate .16-2017-CP-q286 TRS. 917 $49 140 US]. 7 Declaration of Syteria

aren Estate 16-2047-CP 1289 [RB 917 549 153 US], (Registrar (Probate Court) Revordér Doe
# 2OL7I3SIR7, OR BK 18009, Pages. 978-986) i (Registrar (Probate Coiirt) Recorder Doe #
2017193139, OR: BK 18009, Pages 922-990): Caveat: Declaration of Final Default Judaniz
26-2017-CP-at b25 [RB.917 549.140 US] (Registrar (Frohate Court) Recorder Dae # 2017104656, ;
OR BE. 17971;: Pages. 674-680); Caveat: Declaration: of Final Default Jod
i020 [RB 917 549 153 US): (Registrar. (Probate Court} Recorder Doc # 2017104676, | OR BK 17971,
‘Pages 808-814); Taquan Rashte Guileit®"2 Esthite 16-c01 Ants [RE 919 549 140 US] &
Svieria Lawrence®™® Estate: 16-2017-OF oi 287 IRE 917 549 153 US]~ ~ Amended. Notice of
Rute *:

stence. OF Fi nal Will and | Festament. for Taquan Rashie Guillett

x, Notice of Cintim oF} Right, ‘Notice,

of Clain:-of: Tide, Notice. of. Taguan Rashie., Gulleto"e Estate. i. Svterta Lawrence s™ 2
Estate Altodial “e :

 

 
 

 

   

      
 
 
 
 

 

 

 

 

p*® Estate J Syterta Lawrenes®“® Estate; Notice of Sequestration of Life-Rent
and Taquan Rashic alberto Estate, ‘Ss ‘Ee =

  

Petit ons for Protective Measures (Registrar (Probate Court) Recorder. Dac ¢. 2017082363, O

BK: 17940, Pages 1656-1663; ; Dice 2017082126,. OR BK 17940, Pages 15036-1510} Dae # roi708ts7
OR: BE: ‘19Q42,. ‘Pages 914-923; Daas # 2037083334, OR BK i742, Pages 488-492: Doce 2017086513,
OR BR 17946, , ‘Pages §84-507;. Dae 2 2017086521, OR BE 17946, Paves. 630-652: Does 2017087614,
OR BK 17947, Pages 1792-1805;Doc# 2017087595, OR: BK 17947; Pages 1759-1773)

| Affidavit of: Obligation: ‘Univer real and International. Humanitarian

Declaration. for. Commen Taw Pre jidemént Writ. of Personal Replevin

[RE

     

987549 140 US -. RB 917 549 153. US] for the. Natural Rights and Human Righis

Tnfringemients, of Intern ational Law of Peace and Law of War. Constituting Grave Breaches

of the Fundamental Guaranteés of the ‘Hague Conventions, the Gerteva. Conventions,

the fnter-Ameri¢an Conventions, the Rome Statute, and all annexes theréta:.

   
 

‘Action: Action [RB 917 549-140 US ~ RB. G17 549 153 US] for the Natural Rights and Ehiman.
‘Rights: Infringements of International. Law: of Peace and Law of War Constituting Grave
Bréachés ‘of ‘thie Fundamental: ‘Guarantéés: of the Hague Sanventions, the Geneve

thereto,

-Uehversal and intereatznral Hicuanitartan ectitation For Common taw Prejudigment Writ al Personat Replays KB 517519 149 US .
38 af 68 RA D17 519-453 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 47 of 76

Case 3:17-cv-00881-TIC-JBT Document 2 Filed 08/01/17 Page 45 of 74 PagelD 746

Universal Law, international Law, Humanitarian Law, and
Common Law codified at [Florida Statutes 78.0551

7§.. Taquan Rashie Guileti@"® Estate’s body is Male, five (5) feet, eleven. (21) inches tell,

and weighs. approximately. two hundred twenty-bvo (222) pounds: Taqran Rashie
Gullett®"® Estate’s body. has copper-brownish skin toné, a fit athletic muscular build, brown

eyes, and black hair styled in intérlocs. Taquant Rashie Gulleti"® Estate’s body:hasa born .
date: of October 8, 1977. Taquan Rashic Guilletto"® Hstate’s body is: an Original:
Antochthonous: Ameri¢an: Moor Alien Friend {ses annexed Taquan Rashie. Gullett@™s-
Estate Authenticated Certificate of Live Birth 5600-5018; Estate Title, Rights, and Interésts,
Documents): (see 16-2027-CA-2142).

‘76. Syteria Lawrence®“? Estate’s body is Female, five (5) feet, three (9) inches tall, and
weighs approximately oné hiidred twenty (120) pounds, Syteria Lawrence®”® Estate’s.
‘body has copper-brownish skin tone, a fit athletic: feminine build, brown eyés, and black baiz
‘styled in. short curly 9-ether interlots. Syteria Lawrence®”® Estate’s body-has a born dite
‘of Match. 28,. 1954.. Syteria Lawrence®"® Estate’s ‘body is an Original Autochthanoiis
Aweriein Moor Alien Friend (seé annéxed Syterid Lawrétice®“® Estate Autheiiticated
- Certification of Live Birth 109-1954-0143 (short forin} and: her Certificate of -Live Birth 109-
1954-614i13 (ong form) ; Estate:Title, Rights, and Interésts:Dociments). {see 416:2017-CA=
2144). |

77- The declarant-is the General Executor/Executrix ~ Cayeator/Caveatrix = Creditor of Taguan
Rashie Gullett"® Estate's; Syteria Lawrences "© Estate's, and AAMARUS"® Alien Religious,
Consul! Association’s body:and all estate collateral corporeal and ‘incorporeal and: declarant is
entitled to absolute :passéssion of Taquan Rasbie Gullett®"® Estate's, Syteria Lawrente®™©

Estate's, and AAMARUS™® Alien Religious Consul Association’s body and all: estate collateral

’ . Snkvexsal seed Internationat Humanitarian Declaration For Comivari Lew Prebrdarperit Witt of Forsond) Replevin Re TS HOLS
AS of 63 RBSTT So 153 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 48 of 76
Case 3:17-cv-00881-TJC-JBT Document2 Filed 08/01/17 Page 46 of 74 PagelD 747
corporeal and incotporeal fred and clear of any distressés; constraints, restrains, or détalnmerits.
‘The source and authotity of such titles; rights, and interests comes from Our Most High Creator
Divine Source: for the Force Universal Allah (all-Law) whom sustain-all protection and
Provision for Life, Liberty, Propéity, Faniily, Natural Enviroment, and Cultural Heritage, and
«ils. froin declarant’s. Mothers, declarant’s ‘Fatliers,-and declarant’s-Ancestors. AAMARU®"S
Estados Union Ea Al Maiwikanos is entitled to.All of the Fundamental Guarantées of the
Hagiié Conventions, the Geneva Conventions, the: Inter-American. Conventions, the Rome’
Statute, and all'ansiexés thereto; AAMARUS"® Estados Union Ea Al Maurikanos’ titles;
rights, and paramount security interdsts are noticed. aiid perfécted by Court of Record in the
conimercial registry by AAMARUS"® Estados Union Ea Al Maurikanos* Title, Righits,
and Intarsts Perfected. (sée annexed AAMARUS"® Estados. Union Ea Al Maurikenos
Title, Rights, and Interests Perfected ~Noties of Trust: Declaration of TAQUAN RA SHIE
‘GULLETTS™S Estate 16-2017-CP-1286 [RB.917 549 140 US] (Registrar (Probate Court}

otice of Trust: Declaration of .

 

Recorder Doe # 2617104658, OR BK 17971; Pages 978-982);

 

SYTERIA. LAWRENCEC"S Estate 16:2017-CP-1287 [RE 917 545 153 US] (Registrar
(Probate Court) Recorder Doe: # 2017104679, OR. BK 17971, Pages 922-926); Affidavit of
Align Religiotis Consul Association (see Notice-of. Trust:
Rashie Guileit©"® ‘Estate 16-2017-CP-1286 [RB 917 549 140 US] / Declatation of

Deédlarition of Tag

   

 

S leris.Lawren ceS"® Tstate 16-Bar

 

P1987 [RB 917 549 153 US] (Registrat (Prdbata
Court) Recorder Doe 22017133137, OR BK 18000, Pages 978-986) /: (Registrar (Probate Court)
Recorder ‘Doe #:2017133130, OR BK i8069,-Pages 920-936); Caveat: Declaration of Final
Default Judgment 16-2017-CP-1025 [RB 917 549 140-1S] (Registrar (Probate Cour)
Reconder'Doe # 2017104658; OR-BK. 17071, Pages.67, 4-680); Caveat: Declaration of Final
Default: Judgment 16-2017-CP-1020, [RB 917 549 153. US] (Registrar (Probaté. Courl).
Recorder Doe: ¥ 2017104679, OR BK 17571, Pages: 808-814); Taqman Rashie Gulletto~e |

‘Upkversal ard tnternational Humanztarlan Deciaration Far Common tow Peejucemint WRG Peneeat Redterin = REOITS49 40 US
40 of 68 HU 97 89 183 US

 
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Case 3:17-cv-00881-TIC-IBT Document2 Filed 08/01/17 Page 47 of 74 PageiD 748
Estate 16-2617-CA-2142 [RB 917-549 140 US] & Svteria Lawrence9”® Estate 16:2017-

€P-1287 [RB 917 549 153 US] ~ Amended. Notice -of Exister Of Final Will and

   

   

Cost Schedule, Notige and Evidence. of. Documentary Stamp. Duty,: Notice: of of
Absolute and) Final. Confirmati

Gullett@“2.Estate / Svieria Lawrence9"® Estate, Notice of Sequestration. of Life-
Rent and Taquan Rashie Gulletre"@ Estate / Syteria Lawrence®”® Estate, Notice of
Executive Order 19773 — Enforcing Law With Respect To ‘Transnational Criminal
Organizatioiis, Notice of Apostolic Lett VE f
ida Stand v, Notice of Filing of Inter-American Commission
‘Petitions for Protective ‘Measures (Registrar (Probate Court)

 

 

   

 

 

Revordér Dot #801708216g, OR BK 17940; Pages 1656-1663; Doe # 2017082126, OR BK 17940;
Pages 15036-1510; Doe # 2017683437, OR BK 17943; Pagés 914:921; Doé 4 3017089354, ORBK
179423 Pages 488-492; Doe # 2017686513, OR BK 17946; Pages 584-597; Doc. 4 2017086521,
OR BK 17046, Pages. 639-8525 Dos # 20xp087614,. OR. BR-7947, Pages. a7Sd-iBogiDoe
2617087595, OR BK 17947, Pages 1759-1773)-,

78; AAMARUG™S Estados Union Ea Al Méurikanos’ Universal and tntértational
Hutianitarian Common Law Agrcemenits (Ixéaties) area Court of Record and are all
recorded and published on thie rolls of AAMARU"® Estados. Union Ea Al Maurikanos at
the Duval Colinty Florida Registrar (Probate Court) / Recorder:
© Block's Leni: Diétonary 2° Edition defines: “Court: of Record” ‘as = - Thosé. wiose:
judicial -acts.and précdédings aré enrolled in parchment, for. a perpetual memorial

and testimony, which. rolls are called the “records. 6f the court,” and. are: of
such. hi and su reminenit authority th it their truth i is not to 2.

    

Drovetaal ait inernatisnal Rumvaritariais Dectasation Fer Common Law PrejudemmatWatet Personal fepleyiy — -RB9I7 519-148 HS
ay 41 of 68. RB ELF S49 83 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 50 of 76
Case 3:17-cv-00881-TJC-3BT Docurment2 Filed 08/01/17 Page 48 of 74 PagelD 749

‘Question. ‘Every Court of Record has: authority to fire aiid i imprison for. contempt ofits.
authority, ‘3 Broom &-H. Conim. 23, ‘90. A "court of record” is a judicial tribunal [Having
attributes and é exercising functions ind: enidentl: Of the ersoi.of the ma:

  
 
  

   

common Jaw, its. deta and proceedings being .ecrirolled: fora: : perpetual
‘memorial, Jones. tu Jones, 188 “Mo.App. 220; 175 SW. 227, 2293, Ex parté. Gladhitt, &
Mete. Mass., 171,. per Shaw, CJ. See, also, Eecwith vp. Resalshyj, 244 NY. 406; 155 NE.
488,689. Debts of Record: ‘are those which appear ta he due by the eviderite ofa: Coiirt
of Record; such. as d jiidgment; recognizance; ete..

79, Taquin Rashie Gulleno“s Estate's body was abducted, assaulted, battered, human

 

hafficked, -unlawfilly détatied; and the respondeat(s) / libélée(S) / propounder(s). cams into.
possession thereof by means of violence, forée, threat, ‘duress, aid -édercton, and Fespondents
‘continue the uilawhil detainiiént by means. of widlence, force, threat, duress; and coercion as af

‘the. filing. of this: Universal. and. International Humanitarian. Declaration. for. Common Law

‘Prejudgment Writ of Péisirial Replevin, (see 16-2027-CA-2142):

80.. Syteria Lawrence®™® Estate’s. bady: was: ahducted,.. assaulted, ‘battered; human:

teticed ‘alewfilly detained, and the responses) earned into lo possession thereof by iieans of

Replevin. (see L6-s0i-cA-ome:

Bi. Taquan Rashie Gullent®"® Estate's and. Syteria Lawrence®"® Estate's body and
collateral have not.Been taken fora tax; assessment, Or fine pursuant to law,. or: inde? an
eXecution or. attachment against ‘Yaquan Rashie Gullett®“® Estate’s and’ Syteria.

Lawrence®™S Estate’s property: (see. 16-2017-CA-d142 /1622017-D4-2144).

82. The tespondent(s) / lbelee(s) / propounder(s) have defaulted on the témhig, conditions, and
-stipilations: of the Universal and International Homeanitarian: Céiniinion. ‘Law

Agreements (Treaties) TRB: ‘917 S49 140 US - RE 917 549.153.US] Taquan Rashie-

Ubiversal afd Intermaticnal Bumantisrian eckdration Sor Common taw Prajuchement Wit af Perscnat Prrlevii «= RE HIE Hi ug
42 of 68: RAITT S19 153 BS.
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 51 of 76

Case 3:17-cv-00881-TJIC-JBT Document 2 Filed 08/01/17 Page 49 of 74 PagelD 750
Gullett®"@ Estate’s, Syteria Lawrence®"® Estate's; and AAMARUE©"S Alien Religious
Consul Assaciution’s and AAMARUES®: Estailos Union Ea Al AMaurikanos Estate
Titles, Rights, and:Interests Perfected,. by failing to. reniit compensation and separations to
declarant. Also, thé tespondent(s) / libelee(s). / propourider(s) aré in reich of contract. ‘The
téspondent(s). / libeléé(s): / propoundet(s). have failed to ire thieit default or remedy their
.breach of contrack.As a result of respondent(sy’/ libelee(s)’ / propounder(s)’ failure to-remit
‘compensation: and. reparations and retiedy their: breach of contract, Taquan Rashie
Gullett®"@ Estate, Syteria LawrenceS"® Estate; AAMARUG™® Alien Religious
Consul Association, and AAMARU®"S Estades Union Ea Al Maurikenos. bavé
suffered. irreparable: injury, damages, Natutal’ Rights infringemedits, ‘and Hurhan Rights
Infringements of Iitemational Law of Peace and Law of Wat. Constinitiig Grave Breaches of the
Fundamental Guarantees of the Hague Coniientions, the Géneva Coriventions,. the Inter
Aniérican Conventions, the Rome Statute, and -all-annexes thereto, (See 16-2017-CA-2142 / 16-
2017-CA-2144 / 16:2077-CP-1020'/ 16-2017-CP-1035, / 16-2077-CP-1286 / 16-2017-CP.-1887},
(see atihexed Affidavit of Information, ‘Report, and Preferral of Charges: Criminal
Complaint for Felonies, High Crimes, and ‘Misdemeanors ~ A Delict Penal Action:

83.. Dud-to thé default and breach of contract-hy respondent(s} / libelea(s) / propoundér(s) of
thé Universal and Intemational. Humianitariat Common Law Agreements
(Treaties) [RB 917 549 140 US - RB 917 549 153: US] Taquan Rashie Gulletta”®
Estate’s, Syteria Lawrence®"® Estate's, and AAMARUG™® Alien Religious ‘Consul.
Association’s, and AAMARU®"® Estados Union Ea Al ifaurikanos Estate Titles,
Rights, aud Interests Perfected, declarant is entitled to. immediate iecovety and -absoliste.
possession ‘of ‘their hedies corporeal. -arid incorporeal free and clear of any unlawful.

; Unberstand internanonal Hipnaritarian terization ter ocmnon law Prejudgment Wittof Petsonal Replevin RBS? si9 143 CS
43 of GB: REP17 549 153 1S
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 52 of 76
Case 3:1/-cv-00881-TJC-JBT Document2 Filed 08/01/17 Page 50 of 74 PagelD 751

immediate. recovery: and absolute possession of their land, Molly’s: Garden Couniee,
Timuctiin Al Andahisia, Northwest Amexem.(Morscés) [Jacksonville Florida
state][Latitude: 30:360727, Longitude: -81.646558] [National Grid: 172 MP, Northings: 58,
Eastings: 37] [422 East.27th:Streét][RE # 133115-0000,-AH-256-01-28-268.057 Long Branch, .
PT Lot 4 Rec'd O/R 1$367-79B][RE # 139112-0000, 5§-88-26E Long Branch, PT Lot 4 Recd
‘O/R BK 4995-392][619 Hast 27 Street][RE = 133058-00d0, .06-29-27E. North. Springfield
Teridce, Lots 1g, 23, W'goft Lot 23, Bik.4 TIRE. ¥ 1430g9-0000, 9:88:46-28:578. North.
‘Springfield Terrace, Lot 16, Blk. 4] [Mailing Loeation:. °/,.6722 Aclington. Expressway, Suite
67213, Jacksdnvillé Florida state, Timucuan Al Andalisia Northwest Améxem (Moroer's)],
‘corporeal;-and’ incdrporeal, free avid. dear of any. unlawfil detainmeht{s}, disiréss(es),
constraint(s), restrain(s), oF decay; and declarant is entitled to immediate recovery aiid absoliite
possession of all ‘Taquan Rashie Gulletto-@ Estate’s, Syteria Lawrence®® Estate's;
and AAMARU®™"® Alien Religious Consul Association’s and “AAMARUS"® Hstades
Union La ALMaurikanos eorporeal and incorporeal collateral free and cleat of any. unlawful
detainmeni{s); distress(es), constrainit(s}, restrain(s), of decay: (see 16-2017-CAnb1i0' / 16-8017-
CAraid4 /16-2097-CP-1026 / 16-2017-CP-1025. /'16-2017-CP-4386 / 16-2017-CB 1287), (cee
abhexed Affidavit. of Iiformation, Report, and Préferral of Charges: Criiinal
Complaint for Felonies, High Crimes, and Misdémeanors ~ A Déliét Perial Action

IRB 9x7 549140 US - RB 917 549 153 US)).

84. A portion of stid Taquan Rashie Gillet@"© Estate’s, Syteria Lawrencit"
Estate’s; and AAMARUG"S Alicn Religious: Consul Assdciation’s ind AAMARUCG™®
Estados Union Ea Al Maurikanos corporeal and incorporéal collateral inélides. without

isnitation:

a Unérertal sid Intemational #iarétarlan Geelaration For Commana Lew Predadernent Weitof Personal plea = RNSITS49-140 18.
44 of 63 REIT 549 153 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 53 of 76

Case 3:17-cv-00881-TJIC-JBT Document 2 Filed 08/01/17 Page 51 of 74 PagelD 752

* the return of value of declarant’s private conveyancé 2006 Mitsubishi Laneer VIN:
JAZA526E86U068661 plus compensation and repatations for any and all loss of trade
directly or indirectly attributed to the unlawiul detainment(s), distress(es}, constrainit(a),
restrain(s), or decay of declarant’s private conveyance 2006 Mitsubishi Lancer VIN:
JAZAT2Z6EBOUGERG61;. |

© the return: of value. of déclarant’s: private conveyancé 2003 Nissan. g50zZ VIN:
JN1AZ34D73T127363068661 plus compénsation and teparations for any and all loss
of trade directly: or indirectly attributed.to. the. unlawful detainiient(s),. distress(es),
constraint(s), restrain(s), or decay of declarant’s piivate conveyance 2003 Nissan. gs0z
VIN: JN1A734D737117363068663;, : .

* the return of value of deélatant’s: private conveyance: 2006. Ford Fodus Vin:
1BAFP34Ni6W293359 plus conipérisation aid reparations for any and all loss af trade
directly or. indirectly: attributed to the utilawfal detainment(s), distiass(es), constraint(s),
resirdin(s), Or decay of dectarant’s. private coiiveyance S006 Ford Focus “VIN:
IPAFP34NiGW235350;

* the return of value of declaraiit's Two Thousand ($2,060) Dollars in United States
Post Office Money Orders ¢ 24267333611,.#. 24509330068, # 24503330957
oxtorted ds ratisom from Syterii Lawrence? *S ‘Estate by Derrick Spencér,-OfF
the Chain Bail Bonds, Inc., plus compensation and reparatidns for any and all loss of
‘trade directly -or indirectly attributed tothe uslawful: detainmeni(s), distress(es);
‘constraint(s), restrain(s), or decay of declatant’s Two Thousand ($2,000) Dollars in

United States Post’ Office Money Orders, #24267333612,.# 24503930068,.#
24503330957. éxtorted .as ransom by Dertick. Spencer... Off the Chain Bail

 

Bonds. Ine: (see annexed United States Post Office Motiey Orders # 24267393611, #
24502330968;; # 24503330057 indorsed “Extortion” and, “Random” payable 16 Derrick
Spencer, Off the Chain Bail Bonds, Ine.; see Off the Chain Bail Bonds, Inc. receipts), (see.
“Extortion” and “Ransom” enidil), (sée Declaration. ‘To Produce Original
Documents. aud Interrogatories (lleged transfer bind. forfeinire ‘or contract:
2015CF 34444) [RE 917 549.153 US]; Notice of Default and Estoppel (alleged transfer
bond forfeiture or contiact2015CF3444A) (RB 917 549 igs USD):

8s. Declafant is the General Exetutér:/ Exécntri¢— Caveator / Caveatrix.—.Creditaf of the.
‘Utiiversal. and Initertiational Humianitarian Common Law. Agreements (Treaties)
[RE 917 sa9 140 US - RB. giz 546 253 US] Taquan Rashie. Guileit"8 Estate’s, Syteria

Lawrence®™® Estaté’s, and AAMARUS™® Alien Religions Consvl Association's, and

Hatverss ard intertaieoal Humafftzten Declaration For Commocow Pepidgnena Wik ofPeranaeptnty =. RETS{) HOLS
45 of 68 RB SITS isd US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 54 of 76

Case 3:17-cv-00881-TIC-JBT Document 2 Filed 08/01/17 Page 52 of 74 PageiD 753
AAMARUE™? Estadas: Union Ea Al Maurianos Esiate Tiles, Rights; and Interests Perfected
‘eohipensdtion, dainages, reparations, and reasonable feés and costs in bringing this suit: (see 16-
‘Roi7-CAcsida 7 16-2017-CA-2144./ 16-2017-CP-1020 / 16-2017-CP-2025;/ 46-8017-CP-1286 /-16-2017-
CP-i287). (see annexed. Affidavit of Information, Repdrt, aid Preferral. of Charges: Criminal
‘Complaint for Felonies, High Crimes, and Misdemeanors — A Delict Penal Action [RB ‘917.549-140
US- RB 017 549 159 US))-

around Molly’s: Garden Countee, Timuc¢uan. Al Andalusia, Northwest Amexem
(Morocco) [Jacksonville Florida state] [Latinide: $0:360727, Longitude: «
81.646g§8][National Grid:. i7R: MP; Notthings: 98, Hastings: 37][422: East:27 Street]{RE #
Iggiig-Gd0d; AH256-G1-28-36E.057 Long Branch, PT ‘Lot 4 Rec'd O/R i5g97-798][RE #
133112-0000, '55-28-26E ‘Long Branzh, PT Lot af ‘Ree'd O/R: BK:.4995-392][619 . East pyth
Street] [RE.# 19g058-doqg0, d6-28-27E North Springfield Terrace; Lots 15, 28, W goft Lot 2g,.
Blk: 4: JIRE.# 19g059-0060, 3°88-46-25-278 Novib ‘Springfield Tertacé, Lot 26,. Blk.4] [Mailing
Location: */, 6722: Arlington Expressway; ‘Suite 6713, Jacksonville Florida. stitte, Timncian Al
Anddlusia Northwest: Atiexem:(Mordveo)]. ‘The présent vilie of the collateral is unknown at this
timé...(sé¢ 16-2017-CAs3742 f 16-2017-CA-o144 / 16-2077-CP-1020. / 16-2017-CP-i025. / 16-
2047-CP-1286 / 16-2017-CP-1287). (see annexéd Affidavit of Information, Report, and Prefetral.
of Charges: Criminal Complaint for Felonies, High Crimes, and Misdetieanors~.4 Delict. Penal

Action [RB 917 549 140 US-RB-917 549 153 US))..

87. Theréspordetit(s) / lihelee{s}'/ propounder(s) have wrongfill possession.of and unlawhilly

detention is, upon. dedlarant’s information.and belief, obstinacy and hope of furilier financial

Bain, (gee 16-2017-CA-2142 -/ 16-2017-CA-2144 / i6-2017-CP-620./ 16-20%7-CP-025 / 16-

Uitvpial and interfaildna! Hanabkariaa Declaration Fi Chitunda Law Prelodgrninivistel Pencralfieplean — RESTS OLS.
46 of 68" RED HIis3 Us
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 55 of 76

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2017-CP-1286./ 16-2037-CP-1287). {see annexed Affidavit of Information, Report, and Prefexral
of Charges? Criminal Coniplaint for Felonies, High Crimes; and Misdémeaniors — A Delict Penal
Action [RB 917 $49 140 US~RB 917 549 153, US]):

88:. The réspondeat(s) / Ubelea(s) / propoundér(s):came into possession of the corporeal :and

inicorporeal collateral hy the opération.of their businéss of war-critiies; pirady;, privateering;
edmmitted: in the attempted-procurement of jurisdiction; fraud upon
the court; violation of rules, procedures, laws, and the customary.
Standard of international law; trespass; ulira vires, atts; de son tort
acts. in escheatment aid reversion of estates. and. hereditaments. by
Inearis -of violence, force, threat, duress, and coercion constituting multiple
infringeménts. of declarait’s ¢dustitutionally protected Natural
rights, Human rights, and Grive Breaches of;thé Fundamental Guarantées:6f the
Hague. Conventions, the. Geneva, .Conventions, . the: Fater:American Conventions, the Rome
‘Statute; and all annexes theréto. (see 16-2017-CA-2142 / 16-2017-CA-2144,/ 16-2017-CP-1020 /
16-2017-CP-1025 / 16-2017-CP-1286 / 16-2017-CP-1287). (see annexed Affidavit of Information,
Report, ‘and’ Preferral of Charges: Criminal Coiplaint. for Felonies, High: Crimes,..and
Misdeieaniors — A Delict Penal Action [RB 917 §49 140. US = RB 917 549 153 US]):

89. All conditions precedent to the bringing of this détion have ocemited or, have béén waived:
All: thé conditions - precedent to declarant’s: tight.to recovery of compensation,. damages,
teparations, and Univeisal ahd Tniternational Humanitarian Commo Law Prejiidgment Writ of.
Personal Replevin. of the corporeal and incorporeal collateral have been performed or “have.
occurred, The déclarant is entitled te inimediate posséssion of all thé cdrporeal and incdrporedl.

Rx Universdl ard biternetions Hunsanttarizn Declaraticn For Common taw Prefidemene Wilco Personal Repkevin = RINT? 49 LD US
a7 of 62° SB ONT S49 153415:
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 56 of 76
Case 3:17-cv-00881-TIC-JBT Document2 Filed 08/01/17 Page 54 of 74 PagelD 755

collateral free and-clear of any unlawful -detainment(s), distress(es), constraifit(s), restrain (S), or
decay due to the defaiilt and bréach of cotitract by réspondent(s) / libelee(® / propoundér(s) of
the Universal and International Humanitarian Common Law. Agreenients
{T¥eatiés) [RB-917 549 140 US -. RB 917 $49 193 US] Taguian Rashie Gulletio”®
Estate's, Sytcria. LawrenceS”® Estate’s,. and AAMARUS"® Alien Religious Consul
Association’s, and. AAMARUS™®. Estados Union Ea .Al Maurikanos. Estate Titles,
Rights, and Interests Perfected. (see 16-2017-CA-2142 / 16-2017-CA-2144 / 16-2017-CP-1020 /
16-2627-CP-1025;/ 16-2017-CP-4286 / 16-2017-CP-1087). (seé annexed Affidavit of Information,
Report, and Piéierral of. Charges: Criminal Complaint for Felonies, High Crimes, and
Misdemeanors — A Delict Penal Action [RB 917 549 140 US - RB 917 549 153 USD.

‘go. The Univétsdl-and International Hiamanitarian Common. Law. Agreements
(Treaties) (RB 917 549-146 US ~ RB: 617 549 153 US] Taquan Rashie Gullett®*8
Estate's, Syteria Lawrence®™S Estate's, and AAMARUE™@ Aliét Relisious: Consul
Association’s,.and AAMARUS"S Estados Union fa Al Maurikanos Estate ‘Titles,
Rights, aid. Interests’ Peifected are valid, verified, and enfoicdable Court of Recird
International ‘Agreéitients: (Treaties); (see 16-2017-CA-2142 -/ 16-2017-CA=314q4 / '16-2077-CP:
inst f’ 26-2017-CP-1025 £ 16-2017-CP-1286. / 16-2017-CP-1287); (see. annexed Affidavit of
Information, Repott, and Preferral of Charges:.Crimipal Complaint for Felonies, High Crimes,.

and Misdemeanors ~.A-Delict Penal Action [RB:917 549 140 US-= RB 917 549 153. USD:

Gi,, Declarant’ is the Genetdl Executor { Executrix - Cavedtor { Caveatrix.— Creditor of the
Universal and Intemational, Humanitarian Common Law Agreements (Tréaties).
[RE 917,549.140 08 - RB ai7 549 1§3°US] Taquan Rashie Guliieti®*® Estate’s, Syteria
Lawrencé®"Y Estate's, and AAMARUS"® Alien Religious Consul Assodiation’s, and
AAMARUC"® Estados Union Ea Al Maurikanos Estate Titles, Rights, and. Interests

ofter _Linigersal ang toternatiorat Hurtaiiea/tin Deatalion For Cocoranh Law PrejudgmentWitofPeneralRenisin = REMIT SiS OLS
48 oF 68 RB 817 59 13 US
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 57 of 76

Case 3:1/-cv-00881-TiIC-JBT Document 2 Filed 08/01/17 Page 55 of 74 Pageid 756
Perfected and holds: paramount security interést in the ecrporédl and inodrporeal collateral
listed thidiein. (see 16-2017-CA-8142 / a6-2017-CA-a144 / 16-2027-CP-1020 / 16-2017-CP-102g /
16-2017-CP-1286 / 16-20i7-CP1287).. (see, annexed Affidavit of Information, Report, and

Delict Peal Actinn [RB 917 549 140-US= RB 917.549 153 US).

92. Declarantis in posséssion of the original avthenticated Universal and International
Humanitatian Common Law Agreements (Treaties) [RB.917 549 140, DS - RB 937
549 153 US] Taquan Rashie Gulletif"2 Estate's, Syteria Lawrence®”® Estate's, and
AAMARUS"® Alien Religious Consul Association’s, and AAMARU®"® Estados
Union Ea Al Maurikanos Estate Tiles; Rights, and Interests: Perfected. (see, 16-2017-CA-
2iq2 / 16-2017-CA-2144 /-16-2017-CP-aag0 / 16-2037-CP2i0e5 / 16-2017-CP-1286-/ 16-2017~
P-1387).. (See -dittieked’ Affidavit of Information, Report, and Piefeiral of Charges: Criminal

‘Caraplaint for Felonies, High Crimes, anid’ Misdetieandts ~ A Delict Petal Action [RB.917 549
140 US~RB 917 549 153 US])..

93: Pursudnt to the Universal and International’ Homanitarian Commion ‘Law

‘Gulleti@"® Estate’s, Syteria Lawrence®"® Estute’s, and AAMARUS”® Alien Religious
‘Consul Association's, sid AAMARDO"® Estados Uriion Ea Al Maurikanos Estate
Titles, Rights; and Interests Perfected and Affidavit of Information, Repoit, and
Preferral. of Charges: Criminal. Complaint for Felonies, High Crimes, and:
Misdemeanors — A:Delict Penal Action [RB.917 549 i40 US - RB 917 549 153 USI,
True Bills, the respondent(s) / Whelee(s)'/ propounder(8) are fully lidblé-to the declarant for

thé following stinis that aré dite in eoinpétisation , reparations, and damages:

Uriversal and nternalional Humantatisn Deekiratien Far Gammon Law Prepodement Wet of PesdnatRéptein = RRSITSH9 10 US
49 of 68. “ADT S49 1535'S,
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 58 of 76

Case 3:17-cv-00881-TJC-JBT Document 2 Filed 08/01/17 Page 56 of 74 PageiD 757
‘True Bill

A. Compensation to Taquan Rashie Gullett®“2® Estate in the amount of Seven.
Hundred Eighty-One ($781,000,066.00}. Million One-Oulnce. Silver coins of 8999 ‘fine
silver or-the. equivalent par value of Red Seat Silver. Cértificates in accord with Executive
Order 11110, or the: equivalent par valué-as established by law or the exebaiige raté as set
‘by the American Mint Tredsuiy bullion furid and the Coinage Act of 1792, whichever is
the higher amount, for a certified One Ounce Silver Coin {Silver Dollaz). This-claini is td
be -teinitted in Red Séal Silver:Certificates, Bost ‘Office Treasury Maney Orders, or other
bullian cettified funds, and is only acceptable at equivalent par Value as iidicated abiive;

B. Damages‘to ‘Taquan Rashie Guilett®”® Estate inthe. amount of Two Hutidred
‘Thirty-Four ($294,300,000. ac) Million. Thige- Hiindréd ‘Thousand. Oie-Ouncte Silver
eos of; 6999: fine: Silver ‘or the equivalent par ‘valzie. of Red Seal Silver Certificates i in
accord with Executive: Order 11110, or the: eqiivalent par value.as established by law-or
the.exchange rate.as set by. the American Mint Treasury bullion fund and the Coinage Act
‘of 1792; whichever is the higher amount, fora. certified Oné. Ounce Sivér Coin (Silver
Dollar). ‘This Qaim’ isto be remitted: in Red Seal Silver. Certificates; Post Office: Treasury
‘Money Orders; ot other bullion certified fimds; and is.only. acceptable. at equivalent. spar
value a5indicated above;:

iC. Compensation to-Syteria Lawrence" Estate i in-the.amennt: of Seven: Handred
Fighty-£ight ($788, 000,600. on}: Million. One Ounce: Silver cains of: 9999 ‘fine silver-or
the: equivalent par value of Red Seal Silver Certificates ié accord with Executive Order’
11116, or the equivalent par value as established by Jaw. or.the. exchange nite as set by the.
American Mint Treasury thllion fund and the: Coinage Act. of 1792, whichever 1 is-the
higher: amount, for a.certified One Ounce Silver ‘Coin (Silver Dollar}: ‘This claim is t6'’be
remitted ‘i in Red Seal. Silver Certificates, ‘Post Office Treasury ‘Money Orders, :or’ other
‘Bullian certified funds, aiid is ouily aéceptablé at equivalent par value as: ‘indisdted ebave}.

D. Damages to Syteria LawreneeS"® Estate in the amount of Two Hundred. Thirty-
Six: ($236, 400,000 .60} Million Four Hundred. Thousarid One-Ounce Silver coins: ‘of
39989 ‘fine silvak. or-the equivalent par value of Red Seal Silver Certificates in accord with,
Executive Oder j11%6, of the ediiivalént pat vahie as established by law or ‘the exchange
rate as‘set by the American Mint Tréasury Yuillion ‘fund. and the: Coinage Act of 17923.
whichever is-the higher ainount, for a certified One. Ounce Silver Coin (Silver Dalai).
This dain is to-be remitted in Red Seal. Silver Ceitificates, Post Office Treasury Money
Orders, another ‘bullion certified funds, ands only. aééeptable < at equivalent par value as
‘indicated abdve;

E. Fees and costs incurred in bringing this action.

Universet and Intermational Humanitarian Decksration fot Contra inw Prefucdgraent Witt FesomlZepiey “RI 9L7549 EUS:
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-94) Natural Rights and Human Rights Infringements of International’
Law of Peace and Law of War Constituting, Grave Breaches of the
Fundamental Guarantees of the Hague Conventions and Geneva.

_ Conventions and all annexes thereto, codified at [Affidavit of
Information, Report, and Preferral of Charges: Criminal Complaint for
Feloniés, High Crimes, and Misdemeanors — A Delict Penal Action.
[RB 917 549 140 US] Trué Bill: Klements and: Spécifications filed ini
United States Court of Federal Claims Number 1:16-cv-00541-NBF,,
annexed hereto in full]

   

Charge Sheet, Invoice, and ‘Trine Bill

Natural Rightsinfringenients, Human Rights infringements, Constitutionally. Protected’ Rights:
initingements,, Civil Liberties infringements with: imprisonment penalty and money damages not listed
otherwise are in accord with[iitle 18.0,.8.C.§ 3571): Felonies are set at $250,00e and misdemeanors at
$200,000 for. eich offense by duck: Respondent) Libelea/ Defendant, jointly. and severally.

 
  
     
  

Nature of Felony, High Crime; Meney -Autiority, impirisoiment
Gx Misdomeansr Bamages , . Penalty

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Fraud’ (Fictitious: Statements). ..1.0:eqeeeeeee rss a pateter :

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Case 3:1/-cv-00881-TJC-JBT Document 2 Filed 08/01/17 Page 58 of 74 PagelD 759

   

‘Trafficking in-Persons..sc::2:: Sedacbide Liadoineswadegwageedade : $290; 000... au casas LB ABS: om §91581-1596.........4 20° Years:
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cil Damages: for unauthorized actions (Reckless)......$, 000, O00: Peereeereerre BU, S.S.. § PAB cos: wehess api years

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iinprispnment pénaltiés, dnd equitable relief in the Affidavit of Liformation,. Report, and
Preferral.. of Charges: ‘Criminal Complaint far Felonies, High Crimes, aiid!
Misdemeanors. — A’ Delict' Penal, Action [RB.917 549 140 Us] ‘True, Bill is Bight
Hundred. Thirty: Thre’ Million, One Huridred Eleven. Thouisand; Five hundred’ ‘Ninety-One
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Obtain: ‘a Warrant: directing Marshal to Take Custedy’ of: the Prize. Property, and. (3)
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reliminary, Injimetion,. and: {S} Permanent. Injunction for Affiant against
espondents/Livclees/Defondantss (6) “Witness Security: Program Authorization, .
Approval, EREry, and: Protection for Affiant and all-Affiant's ‘Loved Ones.

SUfiversa and international Hwpaittaran Declaration For Common baw Preyudement WritakPoroomtRintia” §— RRSFT SS
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Case 3:17-cv-00881-TJC-JBT Document2 Filed 08/01/17 Page 60 of 74 PagelD 761
A True Bil

All Claims are stated in U.S, Tdllais which nicans that a U.S, Dollar is defined,: for the. purposes of this Claim as, a.
One Ounces Silver roin of 4 999 fine stiver, or the equivalent Parwalue of Red Seal Silver Certificates-in actprd with,
Executive Order 11210, or the equivalent par value as éstablistied by Jaw or the exchange rate as Get by the Americaa
Mint Treasury bullion fntid and the Coinage Act of 1792, whichever is the higher amount, fora certified One Ounce
Silver, Coin {Silver Dollar). ‘This claim is to be fentitted id Red Seal Silver. Certificates, Post ‘Office Treastiry Money
‘Qedéns, ar dther bullion certified funds, andis ‘auly acceptable at Par Value as indicated above..

 Faflure to pay’ ¢ Claim 'tn’ full within Thirty’ {g0) Calendar Days of issnance of INVOICE — VERIFIED STATEMENT
OF ACCOUNT, True Bil, or Default as contained herein i is Interest of 2.0'%S per Month. ‘Thirty (30): Days from thie
Gate of Default beginning ¢ on the Thirty- first (gis) Day after Default, the penaltiés i in ititerest for Failure to pay’ will
iteresse te 3.0% per siionth until Claim is paid in full, ‘plus interest as indicated herein.

Punitive Damages will be-azsessed: ‘as the total amount of the damages ns outlined ‘herein.times three: (3). This awill
‘be added tothe driginal amonnt fof damages for 2 total of al damages.

The terms 420 coaditions.of this. instrument/information/indictnent, agreement, and quasi-contract, contsin bat
are nat limitéd to a waiver on Libelees’ patt of any and ell immunities Lihelecs: might claim should Libelées in amy
way violate the Registered | Owner f Authorized Agent and General Executor for the Estate and far’ permit others to-
-dq so, and those acts aid deemed Ulera Vires, WINE arid Gross: Negligence.

‘The suv cortain. pet agreement, af. all violations is with the- Libelees' consent ‘to: the TAQUAN RASHIE.
GULLETTS*2% ESTATE ALLODIAL COST SCHEDULE contained herein ana the Libelées" full. adceptarie of all
liability joint and several for-thd Claim cpitained herein..If any. provision 1 of this TAQUAN RASHYE GULLETTS™=
ESTATE ‘ALLOIDIAL COST. SCHEDULE i is subject to Estoppel, t the remaining provisions shall nev extheéless renigin.
dn effect.

of this | Presentment BIRSTAND-T TERNAL NOTICE is hereby piven. ‘Take due heed; and gavem ybiirself aéedrdingly.

This FINAL EXPRESSION. IN A RECORD is intended as a sdmpléte and exclusive statesient of the terms of the
Agvesinent “Detivean the parties, Receipt of this instrument/information/indictment, agreement, and.

quasi-contract does constitute all parties. acknowledgement; understanding, » consent, |
acceptance, and agreéme;itto honor allterms, conditions, and stipulations ¢ of this agreement.

oe Universal afi inteimitional thrnacitartan Declaration Far Coennen taw Preiudgmant Wlitet Penanal Reps | REIT MELE.
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95} Natural Rights and Hunan Rights Infringements. of. International
Law of Peacé and Law of War Constituting Grave Breaches of the
Fundamental Guarantees of the Hague, Converitions and Geneta

Conventions and: all annexes: ‘thereto,’ éodified at. [Affidavit of

Information, Rep ort, and Preferral of Charges: Criniiial i Complaint ‘for

 

annexed aberstes TEL full]

Charge Sheet, Invoice, and True Bill

Natural Rights infiingetiénts, Hiiman. Rights: infringements, Cénstitutionally Protected Rights
infringements, Civil Lihettics infringements with imprisonment pevalty and money damages not listed
‘othertise are in accord swith[ Tite 18 U.S.C.§.9571]. Felonies are sét at $250,000 and misdemeanors at
.$100,00b far each dtfense bye sinh Respondent/Libelec/ Defendant, jointly and severally...

 
  
 
   

 

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Or Misdcmennor Damages: , Penalty:

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Disloyalty? Asserting tight td strike:.....s:.c0cscss03s0i25.05250, 000062555 518 USL 1918... secepereacsasel YOSE-
‘False Statement Federal employees compensation)... eeeeas $259, ‘000... pebeisteneati 218 LRS.CLS: 1920.: ied YOArs
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Fraud (Customs Dhutios).c....:,eeg.aseessp58sea82633 sbiaiaee 5250; 000. ndeqensteueds JS US.C. § 1592 wassesa nee years,
Gross Negligence (Customs Duties) siineeatienis setae S250, 090. nay eesyeiszze 1 U.S.C! § 1592. age reenreten dd FORTS
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‘Ulira Vires Abs ssiaieeetdiisestagaiascieseaesesditeeese DOOETIMR, of Dita Vired. cssqqeqeetsersersesf{1-6) Equitable Relief,
‘Libel aud pricéedings USC. § TOSGi cries TU file libel against prize: property
By. 10 U.S.C. § 7658..72..5{2} obtain warrant. p prize property.
United States: ATIOTT EY es eenessctmeeesnenin lO TS.C: § FOS 9 cen if obtain praperty i chafemnation.
(Civil action to restrain boragsment ia Temporary. Restraining Order.
ofa wiétini OF witness. son snasnancatiasasncazeinee LOU, S. Oy § 1514 ancszeccsaesencenies aad 43} ‘Injunction.
‘Civil action to protect 18 US 31961 (1) oy Witness Securify Program
against retaliation “IB ULS.C: § 3421. , Authorization; Approval,.
in fraud CUSESR nits igsasensenanineereneeneed OS... § USI Acs versesninretenee ssnrianned Entry & Protection.

The current running total and Sun Cartnin for all money. damages, iraprisonment panaltics, and. equitable
relief in: this Affidavit ‘of uformation, Report, and. Preférral: of Charges. Criminal
Complaint for Felonies, High. Crimes, and, Misdeni¢anors =-A Delict Penal Action
[RB: O17 $49 153. US] True: Bill is Seven. Hundred Fifty-Nine. Million,Tivo Hundred Fify-
Seven: Thousand, i Five Hundred Dollars and Zere ‘Cents (S759; 357, 500.00}; imprisonment Penalties.
of 915 years, to: ‘Life. Gx}. (6) Equitable Relief for Affi tants: (i) File a Libel against the Pri
Property,’ (2) ‘Obtain a ‘Warrant directing Marshal te Take. Custody. af the Prize Property;: and @)
-Préceed ta Obtain a Condemnation of the Property; 4). Temporary Restraining: Order, (3)
Preliminary. Injunction, and 5) Permanent Injunction for Affiant against
Resporidénts/Libelecs/Defendants;, (6) ‘Witess. Security Program Authorization; Appraval, ‘Entry,
and Protection for Affiant and. all Affiaut’s Loved Ones:

ay Univers and interratlonal Humanitarian Declaration Kor Camron ins Prednis afpersonaiRepivin - RE OIF sin 348 US
Eh. S7.0F 68. Ri 97 349 159 UF:
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 66 of 76

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A Trué Bill

All Claims ar-atated in U;5. Gollars which qieans that a U.S. Dollar is defined, for the purposes of this Claint as, a One Ounce

'Silvar coin-oF 9999 fine'silver, of the: equivalent par valué of Red Seal Silvar Certificates ii dceotd with Executive

Order Bro, orthe aqiivalent par value as. established by law or the exchange tate as-set by the Ameri¢an Mint

“Treasury fnillion fund and the Colaage Act bf 1792, whichever is the higher.amount, fora certified One Onncé Silver’
Cain (Silver Dollar), ‘This claim is ti he reinitted in Bcd Seal Silver Certificates, Post Office Treasury ‘Money Grders,,

or siher bullion éertified funds, and is only atceptable at Par Valuc as indicated ubove.

Failure to pay Claim in fall witha Thiny (30) Calendar Days of i issuance | of INVOICE ~ VERIFIED STATEMENT. OF
ACCOUNT, 1 ‘ria BIR, or. Defiuitas contained herein 3 is interest of 2.0% & par innth, Thirty Q 0) Days £ from the date af Default
beginning om the Thiny-first 4 1% Day after Defanit, the penalties in interest for Failure to pay. will inetease tn 3, 0% per mouth
until Claing is paid in full, plis interest a5 indicated herein.

Punitive Dastiages will be assassed as the total amount of the damages as Guilined hefein limes three (3). This will be added to
the original amount of damages for tats) ofall damages.

Tid terms snd conditions of this instrument/informationfindictnient, aorcement, and Quasi-contract; ¢ contain but-are nol Himited"
toa waiver on Libéleés’ pari < afany and’ all immunities Libélees might claim sliculd Livelecs in any way Violate the Registered
Oliner f Authorized Agent aiid Getcral Exceutar far the Estate andar pernit athers to dc so, and those acts ara deemed Ulira -
Vines, Willfut end Gross Negligence.

‘The guin certain per agreement of ail violations is: with: the Libélées’ consent to the SYTERIA:- HEPHZIBAH®"* ESTATE
ALLODIAL, COST. SCHEDULE contained herein and the Libelees?- fail: acceptance of all Jishility j joint and several. for the
Clains-coninined herein. If any. provision of his SVTERIA HEPHZIRAH ©" ESTATE ALLOJDIAL COST SCHEDULE is
subject ta Estopsel, the remaining provisions shall nevertheless remain in effect.

GE this: presentment FIRST. AND, FINAL NOTICE is hereby given: Take due heed, and gover yourself. aecording gly, This

BINAL. EXPRESSION: INA RECORD i is intended a3.a completé and exclusive stalement of the ferms of the agreement
belsrenn the parties, Receipt’ af this: instrunientfnformation/indictmen i, agreement; and: quasl-contraet: dacs. constitute
all pariies acknowledgement;- understanding, consent acceptance, and agreement a banar: all: terms, conditions, and.
‘stipulations of this agreement,

96. The total sam_.certain for all stated claims for relief ‘of compensation, reparations; and

 

 

19; or the: equivalent par valve as established by law or thé.
‘exchange rate as set by tk the American Mint’ Treasury bullion fund and thé Coisiage Act of 1702,

ein Univetsal avid intesnatiomal Hucciritatinn Deddaration Foe Corsmion Lave Prudent Wit af Persons epleyin RE suri) 40 US:
i) af 68 RE OTT H9 133 8
Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 67 of 76

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whichever is the higher amount, for a certified One Ounce Silver Coin (Silver Dollar). ‘This claim
is to be remitted in Red Seal Silver Certificates, Post Office Treasury: Mobey: Orders, or-othier
bullion certified finds, and is ouly acceptable at equivalent par value as indicated above. (seei6:
2oi7-CA-2142 / 16-2017-CA-di44. / 16-2017-CP-1020 / 16:20i7-CP-1de5 / 16-2017-CP-1286' /
36-2017-CP-1287); (see annexed Affidavit of Information, Report, and. Preferral, of Charges:
‘Crimixial Complaint for Felonies, High Crimes, and Misdemessions — A Delict Patiat Action (Ri

917 549-140 US - RB $17 549153 US)).

97. The déclarant reserves fie right to.a full inventory, foreisié traciig, audit, atid accounting,
-and-declarant further reserves the right ta seek a deficiency against the respondents) / libelee{s)
‘/ ptoponiider(s) for any arid all sums Which may rémiin due to the declarant and unremitted
after disposition of the corpotéal ‘ahd incorpotéal collatetal described: if the Universal aid
international Humanitarian Common Law.Agreenients (Treaties) [RB 917 549 140.
US- RB 917 549 153. US];Taquan Rashie GullettS"© Estate’s, Syteria Lawrencé®"=
Estate's, and AAMARUG™® Alien Religious Consul Aséqciation’s, and AAMARUS"S
Estados Union Ea Al Maurikanos Estaté Titles, Rights, and Interésts Perfected. and
Affidavit of information; Report, and Preferral of Charges: Criminal Complaint for
‘Felonies, High Crimes, and Misdemeanors ~ A Delict Penal Action [RB 917 549 140
US - RE 917.549 153 US] “True Bills. (see 16-2017-CA-2142./ 16-2017-GA-2144 / 16-2017-
CP-1020 / 16:4017-CP-1025 / 16-2017-CP-1286 /' 16-2617-CP-4287), (80 aitiexed ‘Affidavit OF
Information, Repott, and Preferral'of Charges: Criminal Complaint for Felonies, High-Crimes,.
and Misdemeanors — A Delict Penal Action [RB 927 549 140 US~ RB-917 549 153 US]).

RE Lindves‘saf acrnd Intperattonat timarltatlan Hertaration Far Common Law Prefutament Wittal PesoralSrplevin «= RU oI? 519 4G US
‘59 of 68. RGIS 13 US
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Conclusion.

98. Wherefore, the declarant respectfully obliges this Court-to-issue.a Universal aiid Interristional,
Humanitarian Coniinen Law Prejudgment Writ of Personal Replevin, ‘in accordance with ii aécord:
with: thé International (Transnational) Law of Peace. and.the International (Trahsnatiorial) Lay: of
War, the: Hague Conventions, the Geneva Conventions, the Inter-American: Conuentions, the
Rorie Stahite-and “all ainéyes thereto; a8-Wellas Florida Statutes 2.01(Comiion Law and
certain: statiites. declared inforee), Florida Statutes 78.068; Mitchell v. W.T..
Grant C6., 416 US, 600 (1974), Gazil, Ine. 0. Super Food Services; Inc:
996: So: ad-312.(Fla.:1978), MeMurrian v. Fason, 573 ‘Se. 2dsg1g (Fla: 1st
DCA 1992}, Landmark First National Bank of Fort. Lauderdale v, Beach
Bati.and Tacklé Shop, Inc., 449 So. 2d. 1287 (Fla. 4 DCA 1984), Waite
Airerofts, Corp..v. Ford: Motér Credit Company, 430 Sa. 2d: 1003.(Fla:
44) DCA i983), and fransiar Corporation ¥. Intex Recreation Corp.,
570 So. 2d. 366 (Fla; at! DCA 1990); in favor of the deélafant for
declarant’s. bodies, land, and corporeal and incorpéereal collateral, and
declarant further deriands that judgment be entered in their faver and against fespondent{s)
{ Bbelea(s). /propounder(s) and that-declarant be awarded absdlute possession’ of their bodies,
land, and eétporéal an@ inecérporeal collateral; free and dear of ay unlawhil.
detaiinient(s), disttess(és), constraint(s), xestraini(s),-or decay: Also; dedlarant demands judgment
be. entered in theit favor arid:dgaitist respondent(s) / Ubelee(s) / propounderts) and declarant be
awarded compensation, reparations, and. remittance of damages. for maxininm. maintenance, .
madi -eore, and: maximum remedy for Taquan Rashie Gullett®"* Estate, Syteria
Lawrence®"® Jistate, aid AAMARUS"® Alien Religions. Consul Association, aid
AAMARUS"® Retados Union Ea Al Maurtkaniis, including without limitation, fes-and costs:

inéurted for bringing this action.

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g9.. Finally, declarant obliges the: court to issue all such forther Telief, inteiniediate relief, and
other teliéfas is just and properfor good cause, né-dolus, and in the interest
-of Taquan Rashie: Gullett?"® Estate, Syteria Lawrence®"# Estate; and AAMARU2® Aen

Religius Consul Assdéiition, aid AAMARU®"S Estados Union Ka Al Maurikanos

Respectfully and In Honor.

__“SeMalling List:

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Case 20-40375-KKS Doc1-7 Filed 10/14/20 Page 72 of 76

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B. Affidavit of Information, Repart, and referral af Charges: | Criminal Complaint for War Crimes,
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| Verification.
1, Taqian: Rahshe Guilett-El, also called Maalik Rahshe El, and I, Syteria Hephzibah Ei also called Highly
Favored Shekingh E), Divine Iminotial Spirttin Livé Flesti arid Blood Natural Manand Womanof
anajority oh the Land, In Propria Persona by Sui Juris capacity, Jus Sanguinis, Heit Apparent by
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Universal Government Form and Testamentary Style [SAMARUS"S], AAMARUS™® Alien
Religious Cousul Association, do hereby declare and affirm by virtue of Divine Law, under penalties
of} perjury-ander the laws of Our Most High Creator Divine Source far the Force Universal Allah {All
‘Law), The Holy Koran Circle 7, The Zédiac Constitution, the laws of the
‘State of Florida, and the laws of the United States of America, that Lam competent to state
the matters set forth, and herein, and thatall of the facts stated:are true, correct, completé, certain,
not misleading, admissible as evidence, in accordance with declarant’s best first-hand Inowledge,
understanding, and honorable intent, an@if called upon for rlietoric as a witness to the veracity of
| evidente preferred and proffered, declarant shall-so state.
[State v. Shearer, 617.50,24 Fla. ApD. 5 Dist. 1993)]
This Affidavit? is dated the First Day of the Seventh Month

‘fn the Year of Gur Universal Allah (AlE-Law)
Fi Fourteen Hundred Thirty-Seven [Gregorian Calendar Year 2037 — July, a]

In Honor,

 

 
   
 
 

 

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‘Witness:

 

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